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                       Exhibit B
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


  RICHARD PRATT and LARRY JONES,                   Case No. 21-cv-11404-TLL-PTM
  individually and on behalf of all others
  similarly situated,                              Hon. Thomas L. Ludington

                                                   Mag. Judge Patricia T. Morris
                      Plaintiffs,


        v.

  KSE SPORTSMAN MEDIA, INC.,


                      Defendant.

             DECLARATION OF PHILIP L. FRAIETTA
           IN SUPPORT OF PLAINTIFFS’ MOTION FOR
     ATTORNEYS’ FEES, COSTS, EXPENSES, AND SERVICE AWARD

 I, Philip L. Fraietta, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am a partner at Bursor & Fisher, P.A., one of Plaintiffs’ Counsel in

 this action. I am an attorney at law licensed to practice in the States of Michigan,

 New York, New Jersey, and Illinois, and I am a member of the bar of this Court. I

 have personal knowledge of the facts set forth in this declaration and, if called as a

 witness, I could and would testify competently thereto.

       2.     I make this declaration in support of Plaintiffs’ Motion for Attorneys’

 Fees, Costs, Expenses, And Service Award, filed herewith.

       3.     I hereby incorporate Paragraphs 3-21, 26-29 of the Declaration of E.
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 Powell Miller in support of Plaintiffs’ Motion for Attorneys’ Fees, Costs,

 Expenses, and Service Awards, filed herewith, as if fully stated herein.

                RELEVANT PPPA LITIGATION EXPERIENCE

       4.     Beginning in 2015, my firm and my co-counsel (together, “Plaintiffs’

 Counsel”) began investigating and litigating cases against publishers for alleged

 violations of the Michigan Preservation of Personal Privacy Act (the “PPPA”).

 The theory of liability was novel. Although a few other cases had been filed

 against publishers, none had progressed through class certification or summary

 judgment.

       5.     Despite the uncertainty, Plaintiffs’ Counsel took on the cases and

 litigated numerous issues of first impression under the statute, including, but not

 limited to: (i) whether an alleged violation of the statute was sufficient to confer

 Article III standing; (ii) whether the statute violated the First Amendment on its

 face or as applied; (iii) whether plaintiffs could pursue class action claims for

 statutory damages in federal court under Fed. R. Civ. P. 23 in light of MCR

 3.501(A)(5); and (iv) whether a 2016 amendment to the statute applied

 retroactively. See, e.g., Boelter v. Hearst Communications, Inc., 192 F. Supp. 3d

 427 (S.D.N.Y. 2016); Boelter v. Advance Magazine Publishers Inc., 210 F. Supp.

 3d 579 (S.D.N.Y. 2016).

       6.     Thereafter, Plaintiffs’ Counsel conducted vigorous discovery, which



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 included in-depth research into several data industry practices, including data

 appending and data cooperatives, and ultimately third-party discovery from those

 companies. Through that discovery, my firm and my co-counsel amassed a wealth

 of institutional knowledge regarding the data industry.

       7.     Next, Plaintiffs’ Counsel won a motion for summary judgment for the

 named plaintiff in the Hearst case. See Boelter v. Hearst Communications, Inc.,

 269 F. Supp. 3d 172 (S.D.N.Y. 2017). The Hearst summary judgment victory

 provided a roadmap to liability for publishers based on the aforementioned data

 industry practices.

       8.     Then, Plaintiffs’ Counsel were successful in arguing that the amended

 version of the PPPA does not apply to claims that accrued prior to its effective date

 of July 31, 2016. See Horton v. GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D.

 Mich. 2018) (holding amended version of the PPPA does not apply to claims that

 accrued prior to its effective date of July 31, 2016).

       9.     Finally, in the aforementioned PPPA litigation it was assumed that

 PPPA cases were governed by a three-year statute of limitations. See, e.g., Hearst,

 269 F. Supp. 3d at 172; Edwards v. Hearst Communications, Inc., 2016 WL

 6651563 (S.D.N.Y. Nov. 9, 2016). Nonetheless, shortly before filing this lawsuit,

 Plaintiff’s Counsel recognized that the Sixth Circuit’s opinion in Palmer Park

 Square, LLC v. Scottsdale Insurance Company, 878 F.3d 530 (6th Cir. 2017) may



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 provide for a six-year statute of limitations for PPPA claims, and therefore may

 provide an avenue for class recovery under the original PPPA. Thus, despite the

 uncertainty regarding the statute of limitations, Plaintiffs’ Counsel took on this

 case and others.

       10.    In sum, this Settlement was only made possible by Plaintiffs’

 Counsel’s exemplary record litigating other PPPA cases against other publisher

 defendants for over seven years.

        BURSOR & FISHER’S EXPERIENCE AND EXPENDITURES

       11.    My firm undertook this matter on a contingency basis. Due to the

 commitment of time and capital investment required to litigate this action, my firm

 had to forego other work, including hourly non-contingent matters, and other class

 action matters.

       12.    To date, my firm has also spent $89,233.11 in out-of-pocket costs and

 expenses in connection with the prosecution of this case, including paying for full-

 day mediations with Chief Judge Rosen, Judge Holderman, and Judge Andersen.

 Attached as Exhibit 1 is an itemized list of those costs and expenses. These costs

 and expenses are reflected in the records of my firm, and were necessary to

 prosecute this litigation. Cost and expense items are billed separately, and such

 charges are not duplicated in my firm’s billing rates.

       13.    Attached hereto as Exhibit 2 is a current firm resume for Bursor &



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 Fisher, P.A.

       14.      As aforementioned, my firm, Bursor & Fisher, P.A., has significant

 experience in litigating class actions of similar size, scope, and complexity to the

 instant action. (See Ex. 2; Firm Resume of Bursor & Fisher, P.A.). We were

 recently appointed Class Counsel by this Court in Strano v. Kiplinger Washington

 Editors, Inc., Case No. 21-cv-12987-TLL (E.D. Mich.), a case brought under the

 PPPA wherein we reached a class-wide settlement for approximately $6.845

 million where we were awarded 35% in attorneys’ fees, costs, and expenses, and in

 Moeller v. The Week Publications, Inc., Case No. 22-cv-10666-TLL (E.D. Mich.),

 a case brought under the PPPA wherein we reached a class-wide settlement for

 approximately $5 million where we were awarded 35% in attorneys’ fees, costs,

 and expenses. Additionally, we were recently appointed as Class Counsel in

 another PPPA case – Loftus v. Outside Integrated Media, LLC, Case No. 2:21-cv-

 11809 (E.D. Mich.) – in which The Honorable Mark A. Goldsmith approved our

 request for 35% of the settlement fund in attorneys’ fees, costs, and expenses,

 while commending our work and noting that “the class has benefited in a concrete

 way” from the “very effective work” done by Plaintiff’s counsel. See August 9,

 2022, Hearing Transcript at 7:9-8:2 (approving Class Counsel’s attorneys’ fees

 request of 35 percent “where the lawyers did produce significant results for the

 class in very short order”) (a true and correct copy of the August 9, 2022, Final



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 Approval Hearing Transcript in Loftus is attached as Ex. F to Plaintiffs’ Motion for

 Attorneys’ Fees, Costs, Expenses, and Service Award). Similarly, in Kain v. The

 Economist Newspaper NA, Inc., Case No. 4:21-cv-11807-MFL-CI (E.D. Mich.), as

 Class Counsel in another PPPA case, we were awarded 35% of the $9.5 million

 settlement fund in attorneys’ fees, costs, and expenses.

       15.    Moreover, we were Class Counsel in Moeller v. American Media,

 Inc., Case No. 16-cv-11367-JEL (E.D. Mich.), a case brought under the PPPA

 wherein we reached a class-wide settlement for $7.6 million. We were also Class

 Counsel in Kokoszki v. Playboy Enterprises, Inc., Case No. 19-cv-10302-BAF

 (E.D. Mich.), a case brought under the PPPA wherein we reached a class-wide

 settlement for $3.85 million. We were also Class Counsel in Taylor v. Trusted

 Media Brands, Inc., Case No. 16-cv-01812-KMK (S.D.N.Y.), a case brought under

 the PPPA wherein we reached a class-wide settlement for $8.225 million. As

 Class Counsel in Ruppel v. Consumers Union of United States, Inc., Case No. 16-

 cv-02444-KMK (S.D.N.Y.), a case brought under the PPPA, we reached a class-

 wide settlement for $16.375 million. We were Class Counsel in Moeller v.

 Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB

 (S.D.N.Y.), a case brought under the PPPA wherein we reached a class-wide

 settlement for $13.75 million. We were also Class Counsel in Edwards v. Hearst

 Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y.), a case brought



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 under the PPPA wherein we reached a class-wide settlement for $50 million.

       16.    Additionally, my firm has also been recognized by courts across the

 country for its expertise in consumer class action lawsuits. (See Ex. 2 hereto); see

 also Ebin v. Kangadis Food Inc., 297 F.R.D. 561, 566 (S.D.N.Y. Feb. 25, 2014)

 (Rakoff, J.) (“Bursor & Fisher, P.A., are class action lawyers who have experience

 litigating consumer claims. . . . The firm has been appointed class counsel in

 dozens of cases in both federal and state courts, and has won multi-million dollar

 verdicts or recoveries in five class action jury trials since 2008.”) 1; In re Michaels

 Stores Pin Pad Litigation, Case No. 11-cv-03350, ECF No. 22 (N.D. Ill. June 8,

 2011) (appointing Bursor & Fisher class counsel to represent a putative nationwide

 class of consumers who made in-store purchases at Michaels using a debit or credit

 card and had their private financial information breached as a result).

       17.    Moreover, my firm has served as trial counsel for class action

 plaintiffs in six jury trials and has won all six, with recoveries ranging from $21

 million to $299 million.

     ADMINISTRATION OF THE SETTLEMENT AND NOTICE PLAN

       18.    My firm has spent considerable time working with the Settlement

 Administrator to properly administer the Notice Plan, and we will continue to



 1
   Bursor & Fisher has since won a sixth jury verdict in Perez v. Rash Curtis &
 Associates, Case No. 4:16-cv-03396-YGR (N.D. Cal.), for $267 million.

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 spend time doing so on future work in connection with the fairness hearing,

 coordinating with JND, monitoring settlement administration, and responding to

 Settlement Class Member inquiries.

       I declare under penalty of perjury that the above and foregoing is true and

 accurate.

 Executed this 17th day of October 2023 at New York, New York.

                                              /s Philip L. Fraietta
                                                 Philip L. Fraietta




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                       Exhibit 1
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Bursor & Fisher, P.A. - Outdoor Sportsman Group Expenses

                                       $30,970.63    Mediation Fees
                                       $46,450.00    Expert Fees
                                        $7,630.21    Research and eDiscovery Expenses
                                        $2,052.00    Service of Process Expenses
                                         $142.25     Catering & Meal Expenses
                                        $1,988.02    Travel & Lodging Expenses
                                       $89,233.11    Total Outdoor Sportsman Group Expenses

Mediation Fees

  DATE              MATTER            AMOUNT                        DESCRIPTION
2021.10.18 Outdoor Sportsman Group      $275.00      JAMS, Inc.
2022.10.21 Outdoor Sportsman Group     $8,500.00     JAMS, Inc.
2023.01.24 Outdoor Sportsman Group     $11,661.42    JAMS, Inc.
2023.02.08 Outdoor Sportsman Group      $2,118.75    JAMS, Inc.
2023.04.03 Outdoor Sportsman Group      $4,452.13    JAMS, Inc.
2023.04.17 Outdoor Sportsman Group      $6,250.00    JAMS, Inc.
2023.05.08 Outdoor Sportsman Group     ($4,850.00)   JAMS, Inc.
2023.06.09 Outdoor Sportsman Group      $1,941.83    JAMS, Inc.
2023.08.14 Outdoor Sportsman Group        $621.50    JAMS, Inc.
                                        $30,970.63   Total Mediation Fees

Expert Fees

  DATE              MATTER            AMOUNT                       DESCRIPTION
2022.11.01 Outdoor Sportsman Group     $11,437.50    Economics and Technology, Inc.
2022.12.05 Outdoor Sportsman Group     $24,862.50    Economics and Technology, Inc.
2023.05.16 Outdoor Sportsman Group     $3,150.00     Economics and Technology, Inc.
2023.06.09 Outdoor Sportsman Group       $175.00     Economics and Technology, Inc.
2023.08.11 Outdoor Sportsman Group     $6,300.00     Economics and Technology, Inc.
2023.09.08 Outdoor Sportsman Group       $525.00     Economics and Technology, Inc.
                                       $46,450.00    Total Expert Fees

Research and eDiscovery Expenses

  DATE              MATTER            AMOUNT                        DESCRIPTION
2022.09.21 Outdoor Sportsman Group        $10.00     Tyler IDOC
2022.09.25 Outdoor Sportsman Group         $3.00     Tyler IDOC
2022.10.07 Outdoor Sportsman Group      $770.00      JND eDiscovery LLC
2022.11.09 Outdoor Sportsman Group     $1,657.51     JND eDiscovery LLC
2022.12.13 Outdoor Sportsman Group     $1,060.50     JND eDiscovery LLC
2023.01.19 Outdoor Sportsman Group       $798.00     JND eDiscovery LLC
2023.02.06 Outdoor Sportsman Group         $4.00     PACER
2023.02.17 Outdoor Sportsman Group       $798.00     JND eDiscovery LLC
2023.03.10 Outdoor Sportsman Group       $798.00     JND eDiscovery LLC
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2023.04.12 Outdoor Sportsman Group     $798.00    JND eDiscovery LLC
2023.05.05 Outdoor Sportsman Group       $2.20    PACER
2023.05.16 Outdoor Sportsman Group     $868.00    JND eDiscovery LLC
2023.06.08 Outdoor Sportsman Group      $15.75    JND eDiscovery LLC
2023.07.14 Outdoor Sportsman Group      $15.75    JND eDiscovery LLC
2023.08.10 Outdoor Sportsman Group      $15.75    JND eDiscovery LLC
2023.09.08 Outdoor Sportsman Group      $15.75    JND eDiscovery LLC
                                      $7,630.21   Total Research and eDiscovery Expenses

Service of Process Expenses

  DATE              MATTER           AMOUNT                       DESCRIPTION
2022.09.20 Outdoor Sportsman Group    $1,026.00   First Legal Network Insurance Services LLC
2022.10.04 Outdoor Sportsman Group    $1,026.00   First Legal Network Insurance Services LLC
                                      $2,052.00   Total Service of Process Expenses

Catering & Meal Expenses

  DATE              MATTER           AMOUNT                       DESCRIPTION
2022.09.12 Outdoor Sportsman Group      $82.98    Mainstreet Ventur Bay City
2022.09.12 Outdoor Sportsman Group        $9.30   Mcdonald's
2022.09.13 Outdoor Sportsman Group      $35.62    DTW Atwater
2022.09.13 Outdoor Sportsman Group        $5.32   LGA Beechers
2022.09.18 Outdoor Sportsman Group      ($1.42)   DTW Atwater
2022.12.14 Outdoor Sportsman Group      $10.45    Subway
                                       $142.25    Total Catering & Meal Expenses

Total Travel & Lodging Expenses

  DATE              MATTER           AMOUNT                         DESCRIPTION
2022.09.07 Outdoor Sportsman Group      $32.31    Allianz Travel Insurance
2022.09.07 Outdoor Sportsman Group     $478.60    Delta
2022.09.07 Outdoor Sportsman Group     $101.31    Expedia
2022.09.08 Outdoor Sportsman Group      $20.25    Allianz Travel Insurance
2022.09.08 Outdoor Sportsman Group     $373.60    American Airlines
2022.09.13 Outdoor Sportsman Group      $24.24    Marriott
2022.09.13 Outdoor Sportsman Group      $90.65    NYC Taxi
2022.09.13 Outdoor Sportsman Group     $428.84    Thrifty
2022.09.13 Outdoor Sportsman Group      $35.41    Uber Trip
2022.09.14 Outdoor Sportsman Group     $226.44    Marriott
2022.12.17 Outdoor Sportsman Group     $176.37    Uber Trip
                                      $1,988.02   Total Travel & Lodging Expenses
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                       Exhibit 2
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                                           www.bursor.com

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   MIAMI, FL 33131                    NEW YORK, NY 10019                     WALNUT CREEK, CA 94596



                                          FIRM RESUME

         With offices in Florida, New York, and California, BURSOR & FISHER lawyers have
  represented both plaintiffs and defendants in state and federal courts throughout the country.

          The lawyers at our firm have an active civil trial practice, having won multi-million-
  dollar verdicts or recoveries in six of six class action jury trials since 2008. Our most recent
  class action trial victory came in May 2019 in Perez v. Rash Curtis & Associates, in which Mr.
  Bursor served as lead trial counsel and won a $267 million jury verdict against a debt collector
  found to have violated the Telephone Consumer Protection Act. During the pendency of the
  defendant’s appeal, the case settled for $75.6 million, the largest settlement in the history of the
  Telephone Consumer Protection Act.

          In August 2013 in Ayyad v. Sprint Spectrum L.P., in which Mr. Bursor served as lead trial
  counsel, we won a jury verdict defeating Sprint’s $1.06 billion counterclaim and securing the
  class’s recovery of more than $275 million in cash and debt relief.

         In Thomas v. Global Vision Products, Inc. (II), we obtained a $50 million jury verdict in
  favor of a certified class of 150,000 purchasers of the Avacor Hair Regrowth System. The legal
  trade publication VerdictSearch reported that this was the second largest jury verdict in
  California in 2009, and the largest in any class action.

         The lawyers at our firm have an active class action practice and have won numerous
  appointments as class counsel to represent millions of class members, including customers of
  Honda, Verizon Wireless, AT&T Wireless, Sprint, Haier America, and Michaels Stores as well
  as purchasers of Avacor™, Hydroxycut, and Sensa™ products. Bursor & Fisher lawyers have
  been court-appointed Class Counsel or Interim Class Counsel in:
                 1. O’Brien v. LG Electronics USA, Inc. (D.N.J. Dec. 16, 2010) to represent a
                    certified nationwide class of purchasers of LG French-door refrigerators,
                 2. Ramundo v. Michaels Stores, Inc. (N.D. Ill. June 8, 2011) to represent a
                    certified nationwide class of consumers who made in-store purchases at
                    Michaels Stores using a debit or credit card and had their private financial
                    information stolen as a result,
                 3. In re Haier Freezer Consumer Litig. (N.D. Cal. Aug. 17, 2011) to represent a
                    certified class of purchasers of mislabeled freezers from Haier America
                    Trading, LLC,
                 4. Rodriguez v. CitiMortgage, Inc. (S.D.N.Y. Nov. 14, 2011) to represent a
                    certified nationwide class of military personnel against CitiMortgage for
                    illegal foreclosures,
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             5. Rossi v. The Procter & Gamble Co. (D.N.J. Jan. 31, 2012) to represent a
                 certified nationwide class of purchasers of Crest Sensitivity Treatment &
                 Protection toothpaste,
             6. Dzielak v. Whirlpool Corp. et al. (D.N.J. Feb. 21, 2012) to represent a
                 proposed nationwide class of purchasers of mislabeled Maytag Centennial
                 washing machines from Whirlpool Corp., Sears, and other retailers,
             7. In re Sensa Weight Loss Litig. (N.D. Cal. Mar. 2, 2012) to represent a certified
                 nationwide class of purchasers of Sensa weight loss products,
             8. In re Sinus Buster Products Consumer Litig. (E.D.N.Y. Dec. 17, 2012) to
                 represent a certified nationwide class of purchasers,
             9. Ebin v. Kangadis Food Inc. (S.D.N.Y. Feb. 25, 2014) to represent a certified
                 nationwide class of purchasers of Capatriti 100% Pure Olive Oil,
             10. Forcellati v. Hyland’s, Inc. (C.D. Cal. Apr. 9, 2014) to represent a certified
                 nationwide class of purchasers of children’s homeopathic cold and flu
                 remedies,
             11. Ebin v. Kangadis Family Management LLC, et al. (S.D.N.Y. Sept. 18, 2014)
                 to represent a certified nationwide class of purchasers of Capatriti 100% Pure
                 Olive Oil,
             12. In re Scotts EZ Seed Litig. (S.D.N.Y. Jan. 26, 2015) to represent a certified
                 class of purchasers of Scotts Turf Builder EZ Seed,
             13. Dei Rossi v. Whirlpool Corp., et al. (E.D. Cal. Apr. 28, 2015) to represent a
                 certified class of purchasers of mislabeled KitchenAid refrigerators from
                 Whirlpool Corp., Best Buy, and other retailers,
             14. Hendricks v. StarKist Co. (N.D. Cal. July 23, 2015) to represent a certified
                 nationwide class of purchasers of StarKist tuna products,
             15. In re NVIDIA GTX 970 Graphics Card Litig. (N.D. Cal. May 8, 2015) to
                 represent a proposed nationwide class of purchasers of NVIDIA GTX 970
                 graphics cards,
             16. Melgar v. Zicam LLC, et al. (E.D. Cal. March 30, 2016) to represent a
                 certified ten-jurisdiction class of purchasers of Zicam Pre-Cold products,
             17. In re Trader Joe’s Tuna Litigation (C.D. Cal. December 21, 2016) to
                 represent purchaser of allegedly underfilled Trader Joe’s canned tuna.
             18. In re Welspun Litigation (S.D.N.Y. January 26, 2017) to represent a proposed
                 nationwide class of purchasers of Welspun Egyptian cotton bedding products,
             19. Retta v. Millennium Products, Inc. (C.D. Cal. January 31, 2017) to represent a
                 certified nationwide class of Millennium kombucha beverages,
             20. Moeller v. American Media, Inc., (E.D. Mich. June 8, 2017) to represent a
                 class of magazine subscribers under the Michigan Preservation of Personal
                 Privacy Act,
             21. Hart v. BHH, LLC (S.D.N.Y. July 7, 2017) to represent a nationwide class of
                 purchasers of Bell & Howell ultrasonic pest repellers,
             22. McMillion v. Rash Curtis & Associates (N.D. Cal. September 6, 2017) to
                 represent a certified nationwide class of individuals who received calls from
                 Rash Curtis & Associates,
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             23. Lucero v. Solarcity Corp. (N.D. Cal. September 15, 2017) to represent a
                 certified nationwide class of individuals who received telemarketing calls
                 from Solarcity Corp.,
             24. Taylor v. Trusted Media Brands, Inc. (S.D.N.Y. Oct. 17, 2017) to represent a
                 class of magazine subscribers under the Michigan Preservation of Personal
                 Privacy Act,
             25. Gasser v. Kiss My Face, LLC (N.D. Cal. Oct. 23, 2017) to represent a
                 proposed nationwide class of purchasers of cosmetic products,
             26. Gastelum v. Frontier California Inc. (S.F. Superior Court February 21, 2018)
                 to represent a certified California class of Frontier landline telephone
                 customers who were charged late fees,
             27. Williams v. Facebook, Inc. (N.D. Cal. June 26, 2018) to represent a proposed
                 nationwide class of Facebook users for alleged privacy violations,
             28. Ruppel v. Consumers Union of United States, Inc. (S.D.N.Y. July 27, 2018) to
                 represent a class of magazine subscribers under the Michigan Preservation of
                 Personal Privacy Act,
             29. Bayol v. Health-Ade (N.D. Cal. August 23, 2018) to represent a proposed
                 nationwide class of Health-Ade kombucha beverage purchasers,
             30. West v. California Service Bureau (N.D. Cal. September 12, 2018) to
                 represent a certified nationwide class of individuals who received calls from
                 California Service Bureau,
             31. Gregorio v. Premier Nutrition Corporation (S.D.N.Y. Sept. 14, 2018) to
                 represent a nationwide class of purchasers of protein shake products,
             32. Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast (S.D.N.Y.
                 Oct. 24, 2018) to represent a class of magazine subscribers under the
                 Michigan Preservation of Personal Privacy Act,
             33. Bakov v. Consolidated World Travel Inc. d/b/a Holiday Cruise Line (N.D. Ill.
                 Mar. 21, 2019) to represent a certified class of individuals who received calls
                 from Holiday Cruise Line,
             34. Martinelli v. Johnson & Johnson (E.D. Cal. March 29, 2019) to represent a
                 certified class of purchasers of Benecol spreads labeled with the
                 representation “No Trans Fat,”
             35. Edwards v. Hearst Communications, Inc. (S.D.N.Y. April 24, 2019) to
                 represent a class of magazine subscribers under the Michigan Preservation of
                 Personal Privacy Act,
             36. Galvan v. Smashburger (C.D. Cal. June 25, 2019) to represent a proposed
                 class of purchasers of Smashburger’s “Triple Double” burger,
             37. Kokoszki v. Playboy Enterprises, Inc. (E.D. Mich. Feb. 7, 2020) to represent a
                 class of magazine subscribers under the Michigan Preservation of Personal
                 Privacy Act,
             38. Russett v. The Northwestern Mutual Life Insurance Co. (S.D.N.Y. May 28,
                 2020) to represent a class of insurance policyholders that were allegedly
                 charged unlawful paper billing fees,
             39. In re: Metformin Marketing and Sales Practices Litigation (D.N.J. June 3,
                 2020) to represent a proposed nationwide class of purchasers of generic
                 diabetes medications that were contaminated with a cancer-causing
                 carcinogen,
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             40. Hill v. Spirit Airlines, Inc. (S.D. Fla. July 21, 2020) to represent a proposed
                 nationwide class of passengers whose flights were cancelled by Spirit Airlines
                 due to the novel coronavirus, COVID-19, and whose tickets were not
                 refunded,
             41. Kramer v. Alterra Mountain Co. (D. Colo. July 31, 2020) to represent a
                 proposed nationwide class of purchasers to recoup the unused value of their
                 Ikon ski passes after Alterra suspended operations at its ski resorts due to the
                 novel coronavirus, COVID-19,
             42. Qureshi v. American University (D.D.C. July 31, 2020) to represent a
                 proposed nationwide class of students for tuition and fee refunds after their
                 classes were moved online by American University due to the novel
                 coronavirus, COVID-19,
             43. Hufford v. Maxim Inc. (S.D.N.Y. Aug. 13, 2020) to represent a class of
                 magazine subscribers under the Michigan Preservation of Personal Privacy
                 Act,
             44. Desai v. Carnegie Mellon University (W.D. Pa. Aug. 26, 2020) to represent a
                 proposed nationwide class of students for tuition and fee refunds after their
                 classes were moved online by Carnegie Mellon University due to the novel
                 coronavirus, COVID-19,
             45. Heigl v. Waste Management of New York, LLC (E.D.N.Y. Aug. 27, 2020) to
                 represent a class of waste collection customers that were allegedly charged
                 unlawful paper billing fees,
             46. Stellato v. Hofstra University (E.D.N.Y. Sept. 18, 2020) to represent a
                 proposed nationwide class of students for tuition and fee refunds after their
                 classes were moved online by Hofstra University due to the novel
                 coronavirus, COVID-19,
             47. Kaupelis v. Harbor Freight Tools USA, Inc. (C.D. Cal. Sept. 23, 2020), to
                 represent consumers who purchased defective chainsaws,
             48. Soo v. Lorex Corporation (N.D. Cal. Sept. 23, 2020), to represent consumers
                 whose security cameras were intentionally rendered non-functional by
                 manufacturer,
             49. Miranda v. Golden Entertainment (NV), Inc. (D. Nev. Dec. 17, 2020), to
                 represent consumers and employees whose personal information was exposed
                 in a data breach,
             50. Benbow v. SmileDirectClub, Inc. (Cir. Ct. Cook Cnty. Feb. 4, 2021), to
                 represent a certified nationwide class of individuals who received text
                 messages from SmileDirectClub, in alleged violation of the Telephone
                 Consumer Protection Act,
             51. Suren v. DSV Solutions, LLC (Cir. Ct. DuPage Cnty. Apr. 8, 2021), to
                 represent a certified class of employees who used a fingerprint clock-in
                 system, in alleged violation of the Illinois Biometric Information Privacy Act,
             52. De Lacour v. Colgate-Palmolive Co. (S.D.N.Y. Apr. 23, 2021), to represent a
                 certified class of consumers who purchased allegedly “natural” Tom’s of
                 Maine products,
             53. Wright v. Southern New Hampshire University (D.N.H. Apr. 26, 2021), to
                 represent a certified nationwide class of students for tuition and fee refunds
                 after their classes were moved online by Southern New Hampshire University
                 due to the novel coronavirus, COVID-19,
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             54. Sahlin v. Hospital Housekeeping Systems, LLC (Cir. Ct. Williamson Cnty.
                 May 21, 2021), to represent a certified class of employees who used a
                 fingerprint clock-in system, in alleged violation of the Illinois Biometric
                 Information Privacy Act,
             55. Landreth v. Verano Holdings LLC, et al. (Cir. Ct. Cook Cnty. June 2, 2021),
                 to represent a certified class of employees who used a fingerprint clock-in
                 system, in alleged violation of the Illinois Biometric Information Privacy Act.
             56. Rocchio v. Rutgers, The State University of New Jersey, (Sup. Ct., Middlesex
                 Cnty. October 27, 201), to represent a certified nationwide class of students
                 for fee refunds after their classes were moved online by Rutgers due to the
                 novel coronavirus, COVID-19,
             57. Malone v. Western Digital Corp., (N.D. Cal. Dec. 22, 2021), to represent a
                 class of consumers who purchased hard drives that were allegedly deceptively
                 advertised,
             58. Jenkins v. Charles Industries, LLC, (Cir. Ct. DuPage Cnty. Dec. 21, 2021) to
                 represent a certified class of employees who used a fingerprint clock-in
                 system, in alleged violation of the Illinois Biometric Information Privacy Act,
             59. Frederick v. Examsoft Worldwide, Inc., (Cir. Ct. DuPage Cnty. Jan. 6, 2022)
                 to represent a certified class of exam takers who used virtual exam proctoring
                 software, in alleged violation of the Illinois Biometric Information Privacy
                 Act,
             60. Isaacson v. Liqui-Box Flexibles, LLC, et al., (Cir. Ct. Will Cnty. Jan. 18,
                 2022) to represent a certified class of employees who used a fingerprint clock-
                 in system, in alleged violation of the Illinois Biometric Information Privacy
                 Act,
             61. Goldstein et al. v. Henkel Corp., (D. Conn. Mar. 3, 2022) to represent a
                 proposed class of purchasers of Right Guard-brand antiperspirants that were
                 allegedly contaminated with benzene,
             62. McCall v. Hercules Corp., (N.Y. Sup. Ct., Westchester Cnty. Mar. 14, 2022)
                 to represent a certified class of who laundry card purchasers who were
                 allegedly subjected to deceptive practices by being denied cash refunds,
             63. Lewis v. Trident Manufacturing, Inc., (Cir. Ct. Kane Cnty. Mar. 16, 2022) to
                 represent a certified class of workers who used a fingerprint clock-in system,
                 in alleged violation of the Illinois Biometric Information Privacy Act,
             64. Croft v. Spinx Games Limited, et al., (W.D. Wash. Mar. 31, 2022) to represent
                 a certified class of Washington residents who lost money playing mobile
                 applications games that allegedly constituted illegal gambling under
                 Washington law,
             65. Fischer v. Instant Checkmate LLC, (N.D. Ill. Mar. 31, 2022) to represent a
                 certified class of Illinois residents whose identities were allegedly used
                 without their consent in alleged violation of the Illinois Right of Publicity Act,
             66. Rivera v. Google LLC, (Cir. Ct. Cook Cnty. Apr. 25, 2022) to represent a
                 certified class of Illinois residents who appeared in a photograph in Google
                 Photos, in alleged violation of the Illinois Biometric Information Privacy Act,
             67. Loftus v. Outside Integrated Media, LLC, (E.D. Mich. May 5, 2022) to
                 represent a class of magazine subscribers under the Michigan Preservation of
                 Personal Privacy Act,
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                68. D’Amario v. The University of Tampa, (S.D.N.Y. June 3, 2022) to represent a
                    certified nationwide class of students for tuition and fee refunds after their
                    classes were moved online by The University of Tampa due to the novel
                    coronavirus, COVID-19,
                69. Fittipaldi v. Monmouth University, (D.N.J. Sept. 22, 2022) to represent a
                    certified nationwide class of students for tuition and fee refunds after their
                    classes were moved online by Monmouth University due to the novel
                    coronavirus, COVID-19,
                70. Armstead v. VGW Malta Ltd. et al. (Cir. Ct. Henderson Cnty. Oct. 3, 2022) to
                    present a certified class of Kentucky residents who lost money playing mobile
                    applications games that allegedly constituted illegal gambling under Kentucky
                    law,
                71. Cruz v. The Connor Group, A Real Estate Investment Firm, LLC, (N.D. Ill.
                    Oct. 26, 2022) to represent a certified class of workers who used a fingerprint
                    clock-in system, in alleged violation of the Illinois Biometric Information
                    Privacy Act;
                72. Delcid et al. v. TCP HOT Acquisitions LLC et al. (S.D.N.Y. Oct. 28, 2022) to
                    represent a certified nationwide class of purchasers of Sure and Brut-brand
                    antiperspirants that were allegedly contaminated with benzene,
                73. Kain v. The Economist Newspaper NA, Inc. (E.D. Mich. Dec. 15, 2022) to
                    represent a class of magazine subscribers under the Michigan Preservation of
                    Personal Privacy Act,
                74. Strano v. Kiplinger Washington Editors, Inc. (E.D. Mich. Jan. 6, 2023) to
                    represent a class of magazine subscribers under the Michigan Preservation of
                    Personal Privacy Act,
                75. Moeller v. The Week Publications, Inc. (E.D. Mich. Jan. 6, 2023) to represent
                    a class of magazine subscribers under the Michigan Preservation of Personal
                    Privacy Act.
                76. Ambrose v. Boston Globe Media Partners, LLC (D. Mass. May 25, 2023) to
                    represent a class of newspaper subscribers who were also Facebook users
                    under the Video Privacy Protection Act.
                77. In re: Apple Data Privacy Litigation, (N.D. Cal. July 5, 2023) to represent a
                    putative nationwide class of all persons who turned off permissions for data
                    tracking and whose mobile app activity was still tracked on iPhone mobile
                    devices.
                78. Pratt v. KSE Sportsman Media, Inc. (E.D. Mich. Aug. 25, 2023) to represent a
                    class of magazine subscribers under the Michigan Preservation of Personal
                    Privacy Act.

                                      SCOTT A. BURSOR

         Mr. Bursor has an active civil trial practice, having won multi-million verdicts or
  recoveries in six of six civil jury trials since 2008. Mr. Bursor’s most recent victory came in
  May 2019 in Perez v. Rash Curtis & Associates, in which Mr. Bursor served as lead trial counsel
  and won a $267 million jury verdict against a debt collector for violations of the Telephone
  Consumer Protection Act (TCPA).
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          In Ayyad v. Sprint Spectrum L.P. (2013), where Mr. Bursor served as lead trial counsel,
  the jury returned a verdict defeating Sprint’s $1.06 billion counterclaim and securing the class’s
  recovery of more than $275 million in cash and debt relief.

          In Thomas v. Global Vision Products, Inc. (2009), the jury returned a $50 million verdict
  in favor of the plaintiff and class represented by Mr. Bursor. The legal trade publication
  VerdictSearch reported that this was the second largest jury verdict in California in 2009.

          Class actions are rarely tried to verdict. Other than Mr. Bursor and his partner Mr.
  Fisher, we know of no lawyer that has tried more than one class action to a jury. Mr. Bursor’s
  perfect record of six wins in six class action jury trials, with recoveries ranging from $21 million
  to $299 million, is unmatched by any other lawyer. Each of these victories was hard-fought
  against top trial lawyers from the biggest law firms in the United States.

          Mr. Bursor graduated from the University of Texas Law School in 1996. He served as
  Articles Editor of the Texas Law Review, and was a member of the Board of Advocates and
  Order of the Coif. Prior to starting his own practice, Mr. Bursor was a litigation associate at a
  large New York based law firm where he represented telecommunications, pharmaceutical, and
  technology companies in commercial litigation.

          Mr. Bursor is a member of the state bars of New York, Florida, and California, as well as
  the bars of the United States Court of Appeals for the Second, Third, Fourth, Sixth, Ninth and
  Eleventh Circuits, and the bars of the United States District Courts for the Southern and Eastern
  Districts of New York, the Northern, Central, Southern and Eastern Districts of California, the
  Southern and Middle Districts of Florida, and the Eastern District of Michigan.

                                         Representative Cases

          Mr. Bursor was appointed lead or co-lead class counsel to the largest, 2nd largest, and 3rd
  largest classes ever certified. Mr. Bursor has represented classes including more than 160
  million class members, roughly 1 of every 2 Americans. Listed below are recent cases that are
  representative of Mr. Bursor’s practice:

          Mr. Bursor negotiated and obtained court-approval for two landmark settlements in
  Nguyen v. Verizon Wireless and Zill v. Sprint Spectrum (the largest and 2nd largest classes ever
  certified). These settlements required Verizon and Sprint to open their wireless networks to
  third-party devices and applications. These settlements are believed to be the most significant
  legal development affecting the telecommunications industry since 1968, when the FCC’s
  Carterfone decision similarly opened up AT&T’s wireline telephone network.

          Mr. Bursor was the lead trial lawyer in Ayyad v. Sprint Spectrum, L.P. representing a
  class of approximately 2 million California consumers who were charged an early termination
  fee under a Sprint cellphone contract, asserting claims that such fees were unlawful liquidated
  damages under the California Civil Code, as well as other statutory and common law claims.
  After a five-week combined bench-and-jury trial, the jury returned a verdict in June 2008 and the
  Court issued a Statement of Decision in December 2008 awarding the plaintiffs $299 million in
  cash and debt cancellation. Mr. Bursor served as lead trial counsel for this class again in 2013
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  during a month-long jury trial in which Sprint asserted a $1.06 billion counterclaim against the
  class. Mr. Bursor secured a verdict awarding Sprint only $18.4 million, the exact amount
  calculated by the class’s damages expert. This award was less than 2% of the damages Sprint
  sought, less than 6% of the amount of the illegal termination fees Sprint charged to class
  members. In December 2016, after more than 13 years of litigation, the case was settled for
  $304 million, including $79 million in cash payments plus $225 million in debt cancellation.

          Mr. Bursor was the lead trial lawyer in White v. Cellco Partnership d/b/a Verizon
  Wireless representing a class of approximately 1.4 million California consumers who were
  charged an early termination fee under a Verizon cellphone contract, asserting claims that such
  fees were unlawful liquidated damages under the California Civil Code, as well as other statutory
  and common law claims. In July 2008, after Mr. Bursor presented plaintiffs’ case-in-chief,
  rested, then cross-examined Verizon’s principal trial witness, Verizon agreed to settle the case
  for a $21 million cash payment and an injunction restricting Verizon’s ability to impose early
  termination fees in future subscriber agreements.

          Mr. Bursor was the lead trial lawyer in Thomas v. Global Visions Products Inc. Mr.
  Bursor represented a class of approximately 150,000 California consumers who had purchased
  the Avacor® hair regrowth system. In January 2008, after a four-week combined bench-and-jury
  trial. Mr. Bursor obtained a $37 million verdict for the class, which the Court later increased to
  $40 million.

           Mr. Bursor was appointed class counsel and was elected chair of the Official Creditors’
  Committee in In re Nutraquest Inc., a Chapter 11 bankruptcy case before Chief Judge Garrett E.
  Brown, Jr. (D.N.J.) involving 390 ephedra-related personal injury and/or wrongful death claims,
  two consumer class actions, four enforcement actions by governmental agencies, and multiple
  adversary proceedings related to the Chapter 11 case. Working closely with counsel for all
  parties and with two mediators, Judge Nicholas Politan (Ret.) and Judge Marina Corodemus
  (Ret.), the committee chaired by Mr. Bursor was able to settle or otherwise resolve every claim
  and reach a fully consensual Chapter 11 plan of reorganization, which Chief Judge Brown
  approved in late 2006. This settlement included a $12.8 million recovery to a nationwide class
  of consumers who alleged they were defrauded in connection with the purchase of Xenadrine®
  dietary supplement products.

           Mr. Bursor was the lead trial lawyer in In re: Pacific Bell Late Fee Litigation. After
  filing the first class action challenging Pac Bell's late fees in April 2010, winning a contested
  motion to certify a statewide California class in January 2012, and defeating Pac Bell's motion
  for summary judgment in February 2013, Mr. Bursor obtained final approval of the $38 million
  class settlement. The settlement, which Mr. Bursor negotiated the night before opening
  statements were scheduled to commence, included a $20 million cash payment to provide
  refunds to California customers who paid late fees on their Pac Bell wireline telephone accounts,
  and an injunction that reduced other late fee charges by $18.6 million.

                                      L. TIMOTHY FISHER

           L. Timothy Fisher has an active practice in consumer class actions and complex business
  litigation and has also successfully handled a large number of civil appeals.
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          Mr. Fisher has been actively involved in numerous cases that resulted in multi-million
  dollar recoveries for consumers and investors. Mr. Fisher has handled cases involving a wide
  range of issues including nutritional labeling, health care, telecommunications, corporate
  governance, unfair business practices and consumer fraud. With his partner Scott A. Bursor, Mr.
  Fisher has tried five class action jury trials, all of which produced successful results. In Thomas
  v. Global Vision Products, Mr. Fisher obtained a jury award of $50,024,611 — the largest class
  action award in California in 2009 and the second-largest jury award of any kind. In 2019, Mr.
  Fisher served as trial counsel with Mr. Bursor and his partner Yeremey Krivoshey in Perez. v.
  Rash Curtis & Associates, where the jury returned a verdict for $267 million in statutory
  damages under the Telephone Consumer Protection Act.

          Mr. Fisher was admitted to the State Bar of California in 1997. He is also a member of
  the bars of the United States Court of Appeals for the Ninth Circuit, the United States District
  Courts for the Northern, Central, Southern and Eastern Districts of California, the Northern
  District of Illinois, the Eastern District of Michigan, and the Eastern District of Missouri. Mr.
  Fisher taught appellate advocacy at John F. Kennedy University School of Law in 2003 and
  2004. In 2010, he contributed jury instructions, a verdict form and comments to the consumer
  protection chapter of Justice Elizabeth A. Baron’s California Civil Jury Instruction Companion
  Handbook (West 2010). In January 2014, Chief Judge Claudia Wilken of the United States
  District Court for the Northern District of California appointed Mr. Fisher to a four-year term as
  a member of the Court’s Standing Committee on Professional Conduct.

          Mr. Fisher received his Juris Doctor from Boalt Hall at the University of California at
  Berkeley in 1997. While in law school, he was an active member of the Moot Court Board and
  participated in moot court competitions throughout the United States. In 1994, Mr. Fisher
  received an award for Best Oral Argument in the first-year moot court competition.

          In 1992, Mr. Fisher graduated with highest honors from the University of California at
  Berkeley and received a degree in political science. Prior to graduation, he authored an honors
  thesis for Professor Bruce Cain entitled “The Role of Minorities on the Los Angeles City
  Council.” He is also a member of Phi Beta Kappa.

                                          Representative Cases

  Thomas v. Global Vision Products, Inc. (Alameda County Superior Court). Mr. Fisher litigated
  claims against Global Vision Products, Inc. and other individuals in connection with the sale and
  marketing of a purported hair loss remedy known as Avacor. The case lasted more than seven
  years and involved two trials. The first trial resulted in a verdict for plaintiff and the class in the
  amount of $40,000,000. The second trial resulted in a jury verdict of $50,024,611, which led to
  a $30 million settlement for the class.

  In re Cellphone Termination Fee Cases - Handset Locking Actions (Alameda County Superior
  Court). Mr. Fisher actively worked on five coordinated cases challenging the secret locking of
  cell phone handsets by major wireless carriers to prevent consumers from activating them on
  competitive carriers’ systems. Settlements have been approved in all five cases on terms that
  require the cell phone carriers to disclose their handset locks to consumers and to provide
  unlocking codes nationwide on reasonable terms and conditions. The settlements fundamentally
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  changed the landscape for cell phone consumers regarding the locking and unlocking of cell
  phone handsets.

  In re Cellphone Termination Fee Cases - Early Termination Fee Cases (Alameda County
  Superior Court and Federal Communications Commission). In separate cases that are a part of
  the same coordinated litigation as the Handset Locking Actions, Mr. Fisher actively worked on
  claims challenging the validity under California law of early termination fees imposed by
  national cell phone carriers. In one of those cases, against Verizon Wireless, a nationwide
  settlement was reached after three weeks of trial in the amount of $21 million. In a second case,
  which was tried to verdict, the Court held after trial that the $73 million of flat early termination
  fees that Sprint had collected from California consumers over an eight-year period were void and
  unenforceable.

                                     Selected Published Decisions

  Melgar v. Zicam LLC, 2016 WL 1267870 (E.D. Cal. Mar. 30, 2016) (certifying 10-jurisdiction
  class of purchasers of cold remedies, denying motion for summary judgment, and denying
  motions to exclude plaintiff’s expert witnesses).
  Salazar v. Honest Tea, Inc., 2015 WL 7017050 (E.D. Cal. Nov. 12. 2015) (denying motion for
  summary judgment).
  Dei Rossi v. Whirlpool Corp., 2015 WL 1932484 (E.D. Cal. Apr. 27, 2015) (certifying California
  class of purchasers of refrigerators that were mislabeled as Energy Star qualified).
  Bayol v. Zipcar, Inc., 78 F.Supp.3d 1252 (N.D. Cal. 2015) (denying motion to dismiss claims
  alleging unlawful late fees under California Civil Code § 1671).
  Forcellati v. Hyland’s, Inc., 2015 WL 9685557 (C.D. Cal. Jan. 12, 2015) (denying motion for
  summary judgment in case alleging false advertising of homeopathic cold and flu remedies for
  children).
  Bayol v. Zipcar, Inc., 2014 WL 4793935 (N.D. Cal. Sept. 25, 2014) (denying motion to transfer
  venue pursuant to a forum selection clause).
  Forcellati v. Hyland’s Inc., 2014 WL 1410264 (C.D. Cal. Apr. 9, 2014) (certifying nationwide
  class of purchasers of homeopathic cold and flu remedies for children).
  Hendricks v. StarKist Co., 30 F.Supp.3d 917 (N.D. Cal. 2014) (denying motion to dismiss in
  case alleging underfilling of 5-ounce cans of tuna).
  Dei Rossi v. Whirlpool Corp., 2013 WL 5781673 (E.D. Cal. October 25, 2013) (denying motion
  to dismiss in case alleging that certain KitchenAid refrigerators were misrepresented as Energy
  Star qualified).
  Forcellati v. Hyland’s Inc., 876 F.Supp.2d 1155 (C.D. Cal. 2012) (denying motion to dismiss
  complaint alleging false advertising regarding homeopathic cold and flu remedies for children).
  Clerkin v. MyLife.com, 2011 WL 3809912 (N.D. Cal. August 29, 2011) (denying defendants’
  motion to dismiss in case alleging false and misleading advertising by a social networking
  company).
  In re Cellphone Termination Fee Cases, 186 Cal.App.4th 1380 (2010) (affirming order
  approving $21 million class action settlement).
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  Gatton v. T-Mobile USA, Inc., 152 Cal.App.4th 571 (2007) (affirming order denying motion to
  compel arbitration).
                                      Selected Class Settlements
  Melgar v. Zicam (Eastern District of California) - $16 million class settlement of claims alleging
  cold medicine was ineffective.

  Gastelum v. Frontier California Inc. (San Francisco Superior Court) - $10.9 million class action
  settlement of claims alleging that a residential landline service provider charged unlawful late
  fees.

  West v. California Service Bureau, Inc. (Northern District of California) - $4.1 million class
  settlement of claims under the Telephone Consumer Protection Act.

  Gregorio v. Premier Nutrition Corp. (Southern District of New York) - $9 million class
  settlement of false advertising claims against protein shake manufacturer.

  Morris v. SolarCity Corp. (Northern District of California) - $15 million class settlement of
  claims under the Telephone Consumer Protection Act.

  Retta v. Millennium Products, Inc. (Central District of California) - $8.25 million settlement to
  resolve claims of bottled tea purchasers for alleged false advertising.

  Forcellati v. Hyland’s (Central District of California) – nationwide class action settlement
  providing full refunds to purchasers of homeopathic cold and flu remedies for children.

  Dei Rossi v. Whirlpool (Eastern District of California) – class action settlement providing $55
  cash payments to purchasers of certain KitchenAid refrigerators that allegedly mislabeled as
  Energy Star qualified.

  In Re NVIDIA GTX 970 Graphics Chip Litigation (Northern District of California) - $4.5 million
  class action settlement of claims alleging that a computer graphics card was sold with false and
  misleading representations concerning its specifications and performance.

  Hendricks v. StarKist Co. (Northern District of California) – $12 million class action settlement
  of claims alleging that 5-ounce cans of tuna were underfilled.

  In re Zakskorn v. American Honda Motor Co. Honda (Eastern District of California) –
  nationwide settlement providing for brake pad replacement and reimbursement of out-of-pocket
  expenses in case alleging defective brake pads on Honda Civic vehicles manufactured between
  2006 and 2011.

  Correa v. Sensa Products, LLC (Los Angeles Superior Court) - $9 million settlement on behalf
  of purchasers of the Sensa weight loss product.

  In re Pacific Bell Late Fee Litigation (Contra Costa County Superior Court) - $38.6 million
  settlement on behalf of Pac Bell customers who paid an allegedly unlawful late payment charge.
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  In re Haier Freezer Consumer Litigation (Northern District of California) - $4 million
  settlement, which provided for cash payments of between $50 and $325.80 to class members
  who purchased the Haier HNCM070E chest freezer.

  Thomas v. Global Vision Products, Inc. (Alameda County Superior Court) - $30 million
  settlement on behalf of a class of purchasers of a hair loss remedy.

  Guyette v. Viacom, Inc. (Alameda County Superior Court) - $13 million settlement for a class of
  cable television subscribers who alleged that the defendant had improperly failed to share certain
  tax refunds with its subscribers.

                                      JOSEPH I. MARCHESE

          Joseph I. Marchese is a Partner with Bursor & Fisher, P.A. Joe focuses his practice on
  consumer class actions, employment law disputes, and commercial litigation. He has
  represented corporate and individual clients in a wide array of civil litigation, and has substantial
  trial and appellate experience.

          Joe has diverse experience in litigating and resolving consumer class actions involving
  claims of mislabeling, false or misleading advertising, privacy violations, data breach claims, and
  violations of the Servicemembers Civil Relief Act.

         Joe also has significant experience in multidistrict litigation proceedings. Recently, he
  served on the Plaintiffs’ Executive Committee in In Re: Blue Buffalo Company, Ltd. Marketing
  And Sales Practices Litigation, MDL No. 2562, which resulted in a $32 million consumer class
  settlement. Currently, he serves on the Plaintiffs’ Steering Committee for Economic
  Reimbursement in In Re: Valsartan Products Liability Litigation, MDL. No. 2875.

         Joe is admitted to the State Bar of New York and is a member of the bars of the United
  States District Courts for the Southern District of New York, the Eastern District of New York,
  and the Eastern District of Michigan, as well as the United States Court of Appeals for the
  Second Circuit.

        Joe graduated from Boston University School of Law in 2002 where he was a member of
  The Public Interest Law Journal. In 1998, Joe graduated with honors from Bucknell University.

                                    Selected Published Decisions:

  Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. Sept. 7, 2017), granting
  plaintiff’s motion for partial summary judgment on state privacy law violations in putative class
  action.

  Boelter v. Hearst Communications, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. June 17, 2016), denying
  publisher’s motion to dismiss its subscriber’s allegations of state privacy law violations in
  putative class action.
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  In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
  false advertising and other claims brought by New York and California purchasers of grass seed
  product.

  Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
  certification of false advertising and other claims brought by purchasers of purported “100%
  Pure Olive Oil” product.

  In re Michaels Stores Pin Pad Litigation, 830 F. Supp. 2d 518 (N.D. Ill. 2011), denying retailer’s
  motion to dismiss its customers’ state law consumer protection and privacy claims in data breach
  putative class action.

                                     Selected Class Settlements:

  Edwards v. Mid-Hudson Valley Federal Credit Union, Case No. 22-cv-00562-TJM-CFH
  (N.D.N.Y. 2023) – final approval granted for $2.2 million class settlement to resolve claims that
  an upstate New York credit union was unlawfully charging overdraft fees on accounts with
  sufficient funds.

  Edwards v. Hearst Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y. 2019) – final
  approval granted for $50 million class settlement to resolve claims of magazine subscribers for
  alleged statutory privacy violations.

  Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB
  (S.D.N.Y. 2019) – final approval granted for $13.75 million class settlement to resolve claims of
  magazine subscribers for alleged statutory privacy violations.

  In re Scotts EZ Seed Litigation, Case No. 12-cv-4727-VB (S.D.N.Y. 2018) – final approval
  granted for $47 million class settlement to resolve false advertising claims of purchasers of
  combination grass seed product.

  In Re: Blue Buffalo Marketing And Sales Practices Litigation, Case No. 14-MD-2562-RWS
  (E.D. Mo. 2016) – final approval granted for $32 million class settlement to resolve claims of pet
  owners for alleged false advertising of pet foods.

  Rodriguez v. Citimortgage, Inc., Case No. 11-cv-4718-PGG (S.D.N.Y. 2015) – final approval
  granted for $38 million class settlement to resolve claims of military servicemembers for alleged
  foreclosure violations of the Servicemembers Civil Relief Act, where each class member was
  entitled to $116,785 plus lost equity in the foreclosed property and interest thereon.

  O’Brien v. LG Electronics USA, Inc., et al., Case No. 10-cv-3733-DMC (D.N.J. 2011) – final
  approval granted for $23 million class settlement to resolve claims of Energy Star refrigerator
  purchasers for alleged false advertising of the appliances’ Energy Star qualification.

                                      SARAH N. WESTCOT
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         Sarah N. Westcot is the Managing Partner of Bursor & Fisher’s Miami office. She
  focuses her practice on consumer class actions, complex business litigation, and mass torts.

          She has represented clients in a wide array of civil litigation, and has substantial trial and
  appellate experience. Sarah served as trial counsel in Ayyad v. Sprint Spectrum L.P., where
  Bursor & Fisher won a jury verdict defeating Sprint’s $1.06 billion counterclaim and securing
  the class’s recovery of more than $275 million in cash and debt relief.

          Sarah also has significant experience in high-profile, multi-district litigations. She
  currently serves on the Plaintiffs’ Steering Committee in In re Zantac (Ranitidine) Products
  Liability Litigation, MDL No. 2924 (S.D. Florida). She also serves on the Plaintiffs’ Executive
  Committee in In re Apple Inc. App Store Simulated Casino-Style Games Litigation, MDL No.
  2985 (N.D. Cal.) and In Re: Google Play Store Simulated Casino-Style Games Litigation, MDL
  No. 3001 (N.D. Cal.).

          Sarah is admitted to the State Bars of California and Florida, and is a member of the bars
  of the United States District Courts for the Northern, Central, Southern, and Eastern Districts of
  California, the United States District Courts for the Southern and Middle Districts of Florida, and
  the bars of the United States Courts of Appeals for the Second, Eighth, and Ninth Circuits.

          Sarah received her Juris Doctor from the University of Notre Dame Law School in 2009.
  During law school, she was a law clerk with the Cook County State’s Attorney’s Office in
  Chicago and the Santa Clara County District Attorney’s Office in San Jose, CA, gaining early
  trial experience in both roles. She graduated with honors from the University of Florida in 2005.

         Sarah is a member of The National Trial Lawyers Top 100 Civil Plaintiff Lawyers, and
  was selected to The National Trial Lawyers Top 40 Under 40 Civil Plaintiff Lawyers for 2022.
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                                       JOSHUA D. ARISOHN

           Joshua D. Arisohn is a Partner with Bursor & Fisher, P.A. Josh has litigated precedent-
  setting cases in the areas of consumer class actions and terrorism. He participated in the first ever
  trial to take place under the Anti-Terrorism Act, a statute that affords U.S. citizens the right to
  assert federal claims for injuries arising out of acts of international terrorism. Josh’s practice
  continues to focus on terrorism-related matters as well as class actions.

         Josh is admitted to the State Bar of New York and is a member of the bars of the United
  States District Courts for the Southern District of New York, the Eastern District of New York,
  the District Court for the District of Columbia, and the United States Courts of Appeals for the
  Second and Ninth Circuits.

         Josh previously practiced at Dewey & LeBoeuf LLP and DLA Piper LLP. He graduated
  from Columbia University School of Law in 2006, where he was a Harlan Fiske Stone Scholar,
  and received his B.A. from Cornell University in 2002. Josh has been honored as a 2015, 2016
  and 2017 Super Lawyer Rising Star.

                                    Selected Published Decisions:

  Fields v. Syrian Arab Republic, Civil Case No. 18-1437 (RJL), entering a judgment of
  approximately $850 million in favor of the family members of victims of terrorist attacks carried
  out by ISIS with the material support of Syria.

  Farwell v. Google LLC, 2022 WL 1568361 (C.D. Ill. Mar. 31, 2022), denying social media
  defendant’s motion to dismiss BIPA claims brought on behalf of Illinois school students using
  Google’s Workspace for Education platform on laptop computers.

  Weiman v. Miami University, Case No. 2020-00614JD (Oh. Ct. Claims), certifying a class of
  students alleging a breach of contract based on their school’s failure to provide a full semester of
  in-person classes.

  Smith v. The Ohio State University, Case No. 2020-00321JD (Oh. Ct. Claims), certifying a class
  of students alleging a breach of contract based on their school’s failure to provide a full semester
  of in-person classes.

  Waitt v. Kent State University, Case No. 2020-00392JD (Oh. Ct. Claims), certifying a class of
  students alleging a breach of contract based on their school’s failure to provide a full semester of
  in-person classes.

  Duke v. Ohio University, Case No. 2021-00036JD (Oh. Ct. Claims), certifying a class of students
  alleging a breach of contract based on their school’s failure to provide a full semester of in-
  person classes.

  Keba v. Bowling Green State University, Case No. 2020-00639JD (Oh. Ct. Claims), certifying a
  class of students alleging a breach of contract based on their school’s failure to provide a full
  semester of in-person classes.
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  Kirkbride v. The Kroger Co., Case No. 2:21-cv-00022-ALM-EPD, denying motion to dismiss
  claims based on the allegation that defendant overstated its usual and customary prices and
  thereby overcharged customers for generic drugs.

                                      Selected Class Settlements:

  Morris v. SolarCity Corp., Case No. 3:15-cv-05107-RS (N.D. Cal.) - final approval granted for
  $15 million class settlement to resolve claims under the Telephone Consumer Protection Act
  (“TCPA”), 47 U.S.C. § 227 et seq.

  Marquez v. Google LLC, Case No. 2021-CH-1460 (Cir. Ct. Cook Cnty. 2022) – final approval
  granted for $100 million class settlement to resolve alleged BIPA violations of Illinois residents
  appearing in photos on the Google Photos platform.

                                           JOEL D. SMITH

          Joel D. Smith is a Partner with Bursor & Fisher, P.A. Joel is a trial attorney who has
  practiced in lower court and appeals courts across the country, as well as the U.S. Supreme
  Court.

          Prior to joining Bursor & Fisher, Joel was a litigator at Crowell & Moring, where he
  represented Fortune 500 companies, privately held businesses, and public entities in a wide
  variety of commercial, environmental, and class action matters. Among other matters, Joel
  served as defense counsel for AT&T, Enterprise-Rent-A-Car, Flowers Foods, and other major
  U.S. businesses in consumer class actions, including a class action seeking to hold U.S. energy
  companies accountable for global warming. Joel represented four major U.S. retailers in a case
  arising from a devastating arson fire and ensuing state of emergency in Roseville, California,
  which settled on the eve of a trial that was expected to last several months and involve several
  dozen witnesses. Joel also was part of the trial team in a widely publicized trial over the death of
  a contestant who died after participating in a Sacramento radio station’s water drinking contest.

         More recently, Joel’s practice focuses on consumer class actions involving automotive
  and other product defects, financial misconduct, false advertising, and privacy violations.

         Joel received both his undergraduate and law degrees from the University of California at
  Berkeley. While at Berkeley School of Law, he was a member of the California Law Review,
  received several academic honors, externed for the California Attorney General’s office and
  published an article on climate change policy and litigation.

          Joel is admitted to the State Bar of California, as well as the United States Courts of
  Appeals for the Second, Third and Ninth Circuits; all California district courts; the Eastern
  District of Michigan; and the Northern District of Illinois.

                                    Selected Published Decisions:
Case 1:21-cv-11404-TLL-PTM ECF No. 81-3, PageID.1996 Filed 10/17/23 Page 30 of 47
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  Javier v. Assurance IQ, LLC, --- Fed App’x --- 2022 WL 1744107 (9th Cir. May 31, 2022),
  reversing dismissal in a class action alleging surreptitious monitoring of internet
  communications.

  Revitch v. DIRECTV, LLC, 977 F.3d 713 (9th Cir. 2020), affirming denial of motion to compel
  arbitration in putative class action alleging unlawful calls under the Telephone Consumer
  Protection Act.

  Kaupelis v. Harbor Freight Tools USA, Inc., 2020 WL 5901116 (C.D. Cal. Sept. 23, 2020),
  granting class certification of consumer protection claims brought by purchasers of defective
  chainsaws.

                                     Selected Class Settlements:

  Recinos et al. v. The Regents of the University of California, Superior Court for the State of
  California, County of Alameda, Case No. RG19038659 – final approval granted for a settlement
  providing debt relief and refunds to University of California students who were charged late fees.

  Crandell et al. v. Volkswagen Group of America, Case No. 2:18-cv-13377-JSA (D.N.J.) – final
  approval granted for a settlement providing relief for Volkswagen Touareg owners to resolve
  allegations that defects in Touareg vehicles caused the engines to ingest water when driving in
  the rain.

  Isley et al. v. BMW of N. America, LLC, Case No. 2:19-cv-12680-ESK (D.N.J.) – final approval
  granted for settlement providing BMW owners with reimbursements and credit vouchers to
  resolve allegations that defects in the BMW N63TU engine caused excessive oil consumption.

  Kaupelis v. Harbor Freight Tools USA, Inc., 8:19-cv-01203-JVS-DFM (C.D. Cal.) – final
  approval granted for a settlement valued up to $40 million to resolve allegations that Harbor
  Freight sold chainsaws with a defective power switch that could prevent the chainsaws from
  turning off.

  Morris v. SolarCity Corp., Case No. 3:15-cv-05107-RS (N.D. Cal.) - final approval granted for
  $15 million class settlement to resolve claims under the Telephone Consumer Protection Act
  (“TCPA”), 47 U.S.C. § 227 et seq.

                                        NEAL J. DECKANT

         Neal J. Deckant is a Partner with Bursor & Fisher, P.A., where he serves as the firm's
  Head of Information & e-Discovery. Neal focuses his practice on complex business litigation
  and consumer class actions. Prior to joining Bursor & Fisher, Neal counseled low-income
  homeowners facing foreclosure in East Boston.

          Neal is admitted to the State Bars of California and New York, and is a member of the
  bars of the United States District Court for the Northern District of California, the United States
  District Court for the Eastern District of California, the United States District Court for the
  Central District of California, the United States District Court for the Southern District of
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  California, the United States District Court for the Southern District of New York, the United
  States District Court for the Eastern District of New York, and the bars of the United States
  Courts of Appeals for the Second and Ninth Circuits.

          Neal received his Juris Doctor from Boston University School of Law in 2011,
  graduating cum laude with two Dean’s Awards. During law school, Neal served as a Senior
  Articles Editor for the Review of Banking and Financial Law, where he authored two published
  articles about securitization reforms, both of which were cited by the New York Court of
  Appeals, the highest court in the state. Neal was also awarded Best Oral Argument in his moot
  court section, and he served as a Research Assistant for his Securities Regulation professor.
  Neal has also been honored as a 2014, 2015, 2016, and 2017 Super Lawyers Rising Star. In
  2007, Neal graduated with Honors from Brown University with a dual major in East Asian
  Studies and Philosophy.

                                   Selected Published Decisions:

  Martinelli v. Johnson & Johnson, 2019 WL 1429653 (N.D. Cal. Mar. 29, 2019), granting class
  certification of false advertising and other claims brought by purchasers of Benecol spreads
  labeled with the representation “No Trans Fats.”

  Dzielak v. Whirlpool Corp., 2017 WL 6513347 (D.N.J. Dec. 20, 2017), granting class
  certification of consumer protection claims brought by purchasers of Maytag Centennial washing
  machines marked with the “Energy Star” logo.

  Duran v. Obesity Research Institute, LLC, 204 Cal. Rptr. 3d 896 (Cal. Ct. App. 2016), reversing
  and remanding final approval of a class action settlement on appeal, regarding allegedly
  mislabeled dietary supplements, in connection with a meritorious objection.

  Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
  individual and law firm defendants’ motion for judgment as a matter of law on plaintiff’s claims
  for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
  Lubna Faruqi.

  Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
  certification of false advertising and other claims brought by purchasers of purported “100%
  Pure Olive Oil” product.

  Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
  motion for summary judgment against nationwide class of purchasers of purported “100% Pure
  Olive Oil” product.

                                    Selected Class Settlements:

  In Re NVIDIA GTX 970 Graphics Chip Litigation, Case No. 15-cv-00760-PJH (N.D. Cal. Dec. 7,
  2016) – final approval granted for $4.5 million class action settlement to resolve claims that a
  computer graphics card was allegedly sold with false and misleading representations concerning
  its specifications and performance.
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  Hendricks v. StarKist Co., 2016 WL 5462423 (N.D. Cal. Sept. 29, 2016) – final approval granted
  for $12 million class action settlement to resolve claims that 5-ounce cans of tuna were allegedly
  underfilled.

  In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014) – class action
  claims resolved for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
  defendant filed for bankruptcy, following claims that its olive oil was allegedly sold with false
  and misleading representations.

                                       Selected Publications:

  Neal Deckant, X. Reforms of Collateralized Debt Obligations: Enforcement, Accounting and
  Regulatory Proposals, 29 Rev. Banking & Fin. L. 79 (2009) (cited in Quadrant Structured
  Products Co., Ltd. v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014)).

  Neal Deckant, Criticisms of Collateralized Debt Obligations in the Wake of the Goldman Sachs
  Scandal, 30 Rev. Banking & Fin. L. 407 (2010) (cited in Quadrant Structured Products Co., Ltd.
  v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014); Lyon Village Venetia, LLC v. CSE Mortgage
  LLC, 2016 WL 476694, at *1 n.1 (Md. Ct. Spec. App. Feb. 4, 2016); Ivan Ascher, Portfolio
  Society: On the Capitalist Mode of Prediction, at 141, 153, 175 (Zone Books / The MIT Press
  2016); Devon J. Steinmeyer, Does State National Bank of Big Spring v. Geithner Stand a
  Fighting Chance?, 89 Chi.-Kent. L. Rev. 471, 473 n.13 (2014)).

                                       YITZCHAK KOPEL

         Yitzchak Kopel is a Partner with Bursor & Fisher, P.A. Yitz focuses his practice on
  consumer class actions and complex business litigation. He has represented corporate and
  individual clients before federal and state courts, as well as in arbitration proceedings.

          Yitz has substantial experience in successfully litigating and resolving consumer class
  actions involving claims of consumer fraud, data breaches, and violations of the telephone
  consumer protection act. Since 2014, Yitz has obtained class certification on behalf of his clients
  five times, three of which were certified as nationwide class actions. Bursor & Fisher was
  appointed as class counsel to represent the certified classes in each of the cases.

          Yitz is admitted to the State Bars of New York and New Jersey, the bar of the United
  States Court of Appeals for the Second, Eleventh, and Ninth Circuits, and the bars of the United
  States District Courts for the Southern District of New York, Eastern District of New York,
  Eastern District of Missouri, Eastern District of Wisconsin, Northern District of Illinois, and
  District of New Jersey.

         Yitz received his Juris Doctorate from Brooklyn Law School in 2012, graduating cum
  laude with two Dean’s Awards. During law school, Yitz served as an Articles Editor for the
  Brooklyn Law Review and worked as a Law Clerk at Shearman & Sterling. In 2009, Yitz
  graduated cum laude from Queens College with a B.A. in Accounting.
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                                    Selected Published Decisions:

  Bassaw v. United Industries Corp., 482 F.Supp.3d 80, 2020 WL 5117916 (S.D.N.Y. Aug. 31,
  2020), denying motion to dismiss claims in putative class action concerning insect foggers.

  Poppiti v. United Industries Corp., 2020 WL 1433642 (E.D. Mo. Mar. 24, 2020), denying
  motion to dismiss claims in putative class action concerning citronella candles.

  Bakov v. Consolidated World Travel, Inc., 2019 WL 6699188 (N.D. Ill. Dec. 9, 2019), granting
  summary judgment on behalf of certified class in robocall class action.

  Krumm v. Kittrich Corp., 2019 WL 6876059 (E.D. Mo. Dec. 17, 2019), denying motion to
  dismiss claims in putative class action concerning mosquito repellent.

  Crespo v. S.C. Johnson & Son, Inc., 394 F. Supp. 3d 260 (S.D.N.Y. 2019), denying defendant’s
  motion to dismiss fraud and consumer protection claims in putative class action regarding Raid
  insect fogger.

  Bakov v. Consolidated World Travel, Inc., 2019 WL 1294659 (N.D. Ill. Mar. 21, 2019),
  certifying a class of persons who received robocalls in the state of Illinois.

  Bourbia v. S.C. Johnson & Son, Inc., 375 F. Supp. 3d 454 (S.D.N.Y. 2019), denying defendant’s
  motion to dismiss fraud and consumer protection claims in putative class action regarding
  mosquito repellent.

  Hart v. BHH, LLC, 323 F. Supp. 3d 560 (S.D.N.Y. 2018), denying defendants’ motion for
  summary judgment in certified class action involving the sale of ultrasonic pest repellers.

  Hart v. BHH, LLC, 2018 WL 3471813 (S.D.N.Y. July 19, 2018), denying defendants’ motion to
  exclude plaintiffs’ expert in certified class action involving the sale of ultrasonic pest repellers.

  Penrose v. Buffalo Trace Distillery, Inc., 2018 WL 2334983 (E.D. Mo. Feb. 5, 2018), denying
  bourbon producers’ motion to dismiss fraud and consumer protection claims in putative class
  action.

  West v. California Service Bureau, Inc., 323 F.R.D. 295 (N.D. Cal. 2017), certifying a
  nationwide class of “wrong-number” robocall recipients.

  Hart v. BHH, LLC, 2017 WL 2912519 (S.D.N.Y. July 7, 2017), certifying nationwide class of
  purchasers of ultrasonic pest repellers.

  Browning v. Unilever United States, Inc., 2017 WL 7660643 (C.D. Cal. Apr. 26, 2017), denying
  motion to dismiss fraud and warranty claims in putative class action concerning facial scrub
  product.
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  Brenner v. Procter & Gamble Co., 2016 WL 8192946 (C.D. Cal. Oct. 20, 2016), denying motion
  to dismiss warranty and consumer protection claims in putative class action concerning baby
  wipes.

  Hewlett v. Consolidated World Travel, Inc., 2016 WL 4466536 (E.D. Cal. Aug. 23, 2016),
  denying telemarketer’s motion to dismiss TCPA claims in putative class action.

  Bailey v. KIND, LLC, 2016 WL 3456981 (C.D. Cal. June 16, 2016), denying motion to dismiss
  fraud and warranty claims in putative class action concerning snack bars.

  Hart v. BHH, LLC, 2016 WL 2642228 (S.D.N.Y. May 5, 2016) denying motion to dismiss
  warranty and consumer protection claims in putative class action concerning ultrasonic pest
  repellers.

  Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting clients’
  motion for judgment as a matter of law on claims for retaliation and defamation in employment
  action.

  In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
  false advertising and other claims brought by New York and California purchasers of grass seed
  product.

  Brady v. Basic Research, L.L.C., 101 F. Supp. 3d 217 (E.D.N.Y. 2015), denying diet pill
  manufacturers’ motion to dismiss its purchasers’ allegations for breach of express warranty in
  putative class action.

  Ward v. TheLadders.com, Inc., 3 F. Supp. 3d 151 (S.D.N.Y. 2014), denying online job board’s
  motion to dismiss its subscribers’ allegations of consumer protection law violations in putative
  class action.

  Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
  certification of false advertising and other claims brought by purchasers of purported “100%
  Pure Olive Oil” product.

  Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
  motion for summary judgment against nationwide class of purchasers of purported “100% Pure
  Olive Oil” product.

                                     Selected Class Settlements:

  Hart v. BHH, LLC, Case No. 1:15-cv-04804 (S.D.N.Y. Sept. 22, 2020), resolving class action
  claims regarding ultrasonic pest repellers.

  In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014), resolving
  class action claims for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
  defendant filed for bankruptcy following the certification of nationwide claims alleging that its
  olive oil was sold with false and misleading representations.
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  West v. California Service Bureau, Case No. 4:16-cv-03124-YGR (N.D. Cal. Jan. 23, 2019),
  resolving class action claims against debt-collector for wrong-number robocalls for $4.1 million.


                                    YEREMEY O. KRIVOSHEY

          Yeremey O. Krivoshey is a Partner with Bursor & Fisher, P.A. Mr. Krivoshey has
  particular expertise in COVID-19 related consumer litigation, unlawful fees and liquidated
  damages in consumer contracts, TCPA cases, product recall cases, and fraud and false
  advertising litigation. He has represented clients in a wide array of civil litigation, including
  appeals before the Ninth Circuit.

         Mr. Krivoshey served as trial counsel with Mr. Bursor in Perez. v. Rash Curtis &
  Associates, where, in May 2019, the jury returned a verdict for $267 million in statutory damages
  under the Telephone Consumer Protection Act. Since 2017, Mr. Krivoshey has secured over
  $200 million for class members in consumer class settlements. Mr. Krivoshey has been honored
  multiple times as a Super Lawyers Rising Star.

          Mr. Krivoshey is admitted to the State Bar of California. He is also a member of the bars
  of the United States Court of Appeals for the Ninth Circuit and the United States District Courts
  for the Northern, Central, Southern, and Eastern Districts of California, as well as the District of
  Colorado.

         Mr. Krivoshey graduated from New York University School of Law in 2013, where he
  was a Samuel A. Herzog Scholar. Prior to Bursor & Fisher, P.A., Mr. Krivoshey worked as a
  Law Clerk at Vladeck, Waldman, Elias & Engelhard, P.C, focusing on employment
  discrimination and wage and hour disputes. In law school, he has also interned at the American
  Civil Liberties Union and the United States Department of Justice. In 2010, Mr. Krivoshey
  graduated cum laude from Vanderbilt University.

                                         Representative Cases:

  Perez v. Rash Curtis & Associates, Case No. 16-cv-03396-YGR (N.D. Cal. May 13, 2019). Mr.
  Krivoshey litigated claims against a national health-care debt collection agency on behalf of
  people that received autodialed calls on their cellular telephones without their prior express
  consent. Mr. Krivoshey successfully obtained nationwide class certification, defeated the
  defendant’s motion for summary judgment, won summary judgment as to the issue of prior
  express consent and the use of automatic telephone dialing systems, and navigated the case
  towards trial. With his partner, Scott Bursor, Mr. Krivoshey obtained a jury verdict finding that
  the defendant violated the Telephone Consumer Protection Act (“TCPA”) 534,712 times. Under
  the TCPA, class members are entitled to $500 per each call made in violation of the TCPA – in
  this case, $267 million for 534,712 unlawful calls.
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                                   Selected Published Decisions:

  Goodrich, et al. v. Alterra Mountain Co., et al., 2021 WL 2633326 (D. Col. June 25, 2021),
  denying ski pass company’s motion to dismiss its customers’ allegations concerning refunds
  owed due to cancellation of ski season due to COVID-19.

  Bayol v. Zipcar, Inc., 2014 WL 4793935 (N.D. Cal. Sept. 25, 2014), denying enforcement of
  forum selection clause based on public policy grounds.

  Bayol v. Zipcar, Inc., 78 F. Supp. 3d 1252 (N.D. Cal. Jan. 29, 2015), denying car-rental
  company’s motion to dismiss its subscriber’s allegations of unlawful late fees.

  Brown v. Comcast Corp., 2016 WL 9109112 (C.D. Cal. Aug. 12, 2016), denying internet service
  provider’s motion to compel arbitration of claims alleged under the Telephone Consumer
  Protection Act.

  Chaisson, et al. v. University of Southern California (Cal. Sup. Ct. Mar. 25, 2021), denying
  university’s demurrer as to its students’ allegations of unfair and unlawful late fees.

  Choi v. Kimberly-Clark Worldwide, Inc., 2019 WL 4894120 (C.D. Cal. Aug. 28, 2019), denying
  tampon manufacturer’s motion to dismiss its customer’s design defect claims.

  Horanzy v. Vemma Nutrition Co., Case No. 15-cv-298-PHX-JJT (D. Ariz. Apr. 16, 2016),
  denying multi-level marketer’s and its chief scientific officer’s motion to dismiss their
  customer’s fraud claims.
  McMillion, et al. v. Rash Curtis & Associates, 2017 WL 3895764 (N.D. Cal. Sept. 6, 2017),
  granting nationwide class certification of Telephone Consumer Protection Act claims by persons
  receiving autodialed and prerecorded calls without consent.
  McMillion, et al. v. Rash Curtis & Associates, 2018 WL 692105 (N.D. Cal. Feb. 2, 2018),
  granting plaintiffs’ motion for partial summary judgment on Telephone Consumer Protection Act
  violations in certified class action.
  Perez v. Indian Harbor Ins. Co., 2020 WL 2322996 (N.D. Cal. May 11, 2020), denying
  insurance company’s motion to dismiss or stay assigned claims of bad faith and fair dealing
  arising out of $267 million trial judgment.
  Perez v. Rash Curtis & Associates, 2020 WL 1904533 (N.D. Cal. Apr. 17, 2020), upholding
  constitutionality of $267 million class trial judgment award.
  Salazar v. Honest Tea, Inc., 2015 WL 7017050 (E.D. Cal. Nov. 12. 2015), denying
  manufacturer’s motion for summary judgment as to customer’s false advertising claims.
  Sholopa v. Turk Hava Yollari A.O., Inc. (d/b/a Turkish Airlines), 2022 WL 976825 (S.D.N.Y.
  Mar. 31, 2022), denying airline’s motion to dismiss its customers claims for failure to refund
  flights cancelled due to COVID-19.
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                                     Selected Class Settlements:

  Perez v. Rash Curtis & Associates, Case No. 16-cv-03396-YGR (N.D. Cal. Oct. 1, 2021)
  granting final approval to a $75.6 million non-reversionary cash common fund settlement, the
  largest ever consumer class action settlement stemming from a violation of the Telephone
  Consumer Protection Act.

  Strassburger v. Six Flags Theme Parks Inc., et al. (Ill. Cir. Ct. 2022) granting final approval to
  $83.6 million settlement to resolve claims of theme park members for alleged wrongful charging
  of fees during the COVID-19 pandemic.

  Juarez-Segura, et al. v. Western Dental Services, Inc. (Cal. Sup. Ct. Aug. 9, 2021) granting final
  approval to $35 million settlement to resolve claims of dental customers for alleged unlawful late
  fees.

  Moore v. Kimberly-Clark Worldwide, Inc. (Ill. Cir. Ct. July 22, 2020) granting final approval to
  $11.2 million settlement to resolve claims of tampon purchasers for alleged defective products.

  Retta v. Millennium Prods., Inc., 2017 WL 5479637 (C.D. Cal. Aug. 22, 2017) granting final
  approval to $8.25 million settlement to resolve claims of kombucha purchasers for alleged false
  advertising.

  Cortes v. National Credit Adjusters, L.L.C. (E.D. Cal. Dec. 7, 2020) granting final approval to
  $6.8 million settlement to resolve claims of persons who received alleged autodialed calls
  without prior consent in violation of the TCPA.

  Bayol et al. v. Health-Ade LLC, et al. (N.D. Cal. Oct. 11, 2019) – granting final approval to
  $3,997,500 settlement to resolve claims of kombucha purchasers for alleged false advertising.

                                       PHILIP L. FRAIETTA

         Philip L. Fraietta is a Partner with Bursor & Fisher, P.A. Phil focuses his practice on data
  privacy, complex business litigation, consumer class actions, and employment law disputes. Phil
  has been named a “Rising Star” in the New York Metro Area by Super Lawyers® every year
  since 2019.

          Phil has significant experience in litigating consumer class actions, particularly those
  involving privacy claims under statutes such as the Michigan Preservation of Personal Privacy
  Act, the Illinois Biometric Information Privacy Act, and Right of Publicity statutes. Since 2016,
  Phil has recovered over $100 million for class members in privacy class action settlements. In
  addition to privacy claims, Phil has significant experience in litigating and settling class action
  claims involving false or misleading advertising.

          Phil is admitted to the State Bars of New York, New Jersey, Illinois, and Michigan, the
  bars of the United States District Courts for the Southern District of New York, the Eastern
  District of New York, the Western District of New York, the Northern District of New York, the
  District of New Jersey, the Eastern District of Michigan, the Western District of Michigan, the
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  Northern District of Illinois, the Central District of Illinois, and the United States Court of
  Appeals for the Second, Third, and Ninth Circuits. Phil was a Summer Associate with Bursor &
  Fisher prior to joining the firm.

         Phil received his Juris Doctor from Fordham University School of Law in 2014,
  graduating cum laude. During law school, Phil served as an Articles & Notes Editor for the
  Fordham Law Review, and published two articles. In 2011, Phil graduated cum laude from
  Fordham University with a B.A. in Economics.

                                   Selected Published Decisions:

  Fischer v. Instant Checkmate LLC, 2022 WL 971479 (N.D. Ill. Mar. 31, 2022), certifying class
  of Illinois residents for alleged violations of Illinois’ Right of Publicity Act by background
  reporting website.

  Kolebuck-Utz v. Whitepages Inc., 2021 WL 157219 (W.D. Wash. Apr. 22, 2021), denying
  defendant’s motion to dismiss for alleged violations of Ohio’s Right to Publicity Law.

  Bergeron v. Rochester Institute of Technology, 2020 WL 7486682 (W.D.N.Y. Dec. 18, 2020),
  denying university’s motion to dismiss for failure to refund tuition and fees for the Spring 2020
  semester in light of the COVID-19 pandemic.

  Porter v. NBTY, Inc., 2019 WL 5694312 (N.D. Ill. Nov. 4, 2019), denying supplement
  manufacturer’s motion for summary judgment on consumers’ allegations of false advertising
  relating to whey protein content.

  Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. 2017), granting
  plaintiff’s motion for partial summary judgment on state privacy law violations in putative class
  action.

                                     Selected Class Settlements:

  Edwards v. Hearst Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y. 2019) – final
  approval granted for $50 million class settlement to resolve claims of magazine subscribers for
  alleged statutory privacy violations.

  Ruppel v. Consumers Union of United States, Inc., Case No. 16-cv-02444-KMK (S.D.N.Y.
  2018) – final approval granted for $16.375 million class settlement to resolve claims of magazine
  subscribers for alleged statutory privacy violations.

  Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB
  (S.D.N.Y. 2019) – final approval granted for $13.75 million class settlement to resolve claims of
  magazine subscribers for alleged statutory privacy violations.

  Benbow v. SmileDirectClub, LLC, Case No. 2020-CH-07269 (Cir. Ct. Cook Cnty. 2021) – final
  approval granted for $11.5 million class settlement to resolve claims for alleged TCPA
  violations.
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  Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
  approval granted for $9 million class settlement to resolve claims of protein shake purchasers for
  alleged false advertising.

  Taylor v. Trusted Media Brands, Inc., Case No. 16-cv-01812-KMK (S.D.N.Y. 2018) – final
  approval granted for $8.225 million class settlement to resolve claims of magazine subscribers
  for alleged statutory privacy violations.

  Moeller v. American Media, Inc., Case No. 16-cv-11367-JEL (E.D. Mich. 2017) – final approval
  granted for $7.6 million class settlement to resolve claims of magazine subscribers for alleged
  statutory privacy violations.

  Rocchio v. Rutgers, The State University of New Jersey, Case No. MID-L-003039-20 (Sup. Ct.
  Middlesex Cnty. 2022) – final approval granted for $5 million class settlement to resolve claims
  for failure to refund mandatory fees for the Spring 2020 semester in light of the COVID-19
  pandemic.

  Heigl v. Waste Management of New York, LLC, Case No. 19-cv-05487-WFK-ST (E.D.N.Y.
  2021) – final approval granted for $2.7 million class settlement to resolve claims for charging
  allegedly unlawful fees pertaining to paper billing.

  Frederick v. Examsoft Worldwide, Inc., Case No. 2021L001116 (Cir. Ct. DuPage Cnty. 2022) –
  final approval granted for $2.25 million class settlement to resolve claims for alleged BIPA
  violations.

                                         ALEC M. LESLIE

          Alec Leslie is a Partner with Bursor & Fisher, P.A. He focuses his practice on consumer
  class actions, employment law disputes, and complex business litigation.

         Alec is admitted to the State Bar of New York and is a member of the bar of the United
  States District Courts for the Southern and Eastern Districts of New York. Alec was a Summer
  Associate with Bursor & Fisher prior to joining the firm.

         Alec received his Juris Doctor from Brooklyn Law School in 2016, graduating cum
  laude. During law school, Alec served as an Articles Editor for Brooklyn Law Review. In
  addition, Alec served as an intern to the Honorable James C. Francis for the Southern District of
  New York and the Honorable Vincent Del Giudice, Supreme Court, Kings County. Alec
  graduated from the University of Colorado with a B.A. in Philosophy in 2012.

                                     Selected Class Settlements:

  Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
  approval granted for class settlement to resolve claims of protein shake purchasers for alleged
  false advertising.
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  Wright v. Southern New Hampshire Univ., Case No. 1:20-cv-00609-LM (D.N.H. 2021) – final
  approval granted for class settlement to resolve claims over COVID-19 tuition and fee refunds to
  students.

  Mendoza et al. v. United Industries Corp., Case No. 21PH-CV00670 (Phelps Cnty. Mo. 2021) –
  final approval granted for class settlement to resolve false advertising claims on insect repellent
  products.

  Kaupelis v. Harbor Freight Tools USA, Inc., Case No. 8:19-cv-01203-JVS-DFM (C.D. Cal.
  2021) – final approval granted for class settlement involving allegedly defective and dangerous
  chainsaws.

  Rocchio v. Rutgers Univ., Case No. MID-L-003039-20 (Middlesex Cnty. N.J. 2021) – final
  approval granted for class settlement to resolve claims over COVID-19 fee refunds to students.

  Malone v. Western Digital Corporation, Case No. 5:20-cv-03584-NC (N.D. Cal.) – final
  approval granted for class settlement to resolve false advertising claims on hard drive products.

  Frederick et al. v. ExamSoft Worldwide, Inc., Case No. 2021L001116 (DuPage Cnty. Ill. 2021) –
  final approval granted for class settlement to resolve claims over alleged BIPA violations with
  respect to exam proctoring software.

                                          STEPHEN BECK

        Stephen is an Associate with Bursor & Fisher, P.A. Stephen focuses his practice on
  complex civil litigation and class actions.

         Stephen is admitted to the State Bar of Florida and is a member of the bars of the United
  States District Courts for the Southern and Middle Districts of Florida.

         Stephen received his Juris Doctor from the University of Miami School of Law in 2018.
  During law school, Stephen received an Honors distinction in the Litigation Skills Program and
  was awarded the Honorable Theodore Klein Memorial Scholarship for excellence in written and
  oral advocacy. Stephen also received the CALI Award in Legislation for earning the highest
  grade on the final examination. Stephen graduated from the University of North Florida with a
  B.A. in Philosophy in 2015.

                                    STEFAN BOGDANOVICH

          Stefan Bogdanovich is an Associate with Bursor & Fisher, P.A. Stefan litigates complex
  civil and class actions typically involving privacy, intellectual property, entertainment, and false
  advertising law.

         Prior to working at Bursor & Fisher, Stefan practiced at two national law firms in Los
  Angeles. He helped represent various companies in false advertising and IP infringement cases,
  media companies in defamation cases, and motion picture producers in royalty disputes. He also
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  advised corporations and public figures on complying with various privacy and advertising laws
  and regulations.

         Stefan is admitted to the State Bar of California and all of the California Federal District
  Courts. He is also a Certified Information Privacy Professional.

        Stefan received his Juris Doctor from the University of Southern California Gould School
  of Law in 2018, where he was a member of the Hale Moot Court Honors Program and the Trial
  Team. He received the highest grade in his class in three subjects, including First Amendment
  Law.

                                        BRITTANY SCOTT

         Brittany Scott is an Associate with Bursor & Fisher, P.A. Brittany focuses her practice
  on data privacy, complex civil litigation, and consumer class actions. Brittany was an intern with
  Bursor & Fisher prior to joining the firm.

          Brittany has substantial experience litigating consumer class actions, including those
  involving data privacy claims under statutes such as the Illinois Biometric Information Privacy
  Act, the Fair Credit Reporting Act, and the Michigan Preservation of Personal Privacy Act. In
  addition to data privacy claims, Brittany has significant experience in litigating class action
  claims involving false and misleading advertising.

         Brittany is admitted the State Bar of California and is a member of the bars of the United
  States District Courts for the Northern, Central, Southern, and Eastern Districts of California, the
  Eastern District of Wisconsin, the Northern District of Illinois, the Ninth Circuit Court of
  Appeals, the Seventh Circuit Court of Appeals, and Second Circuit Court of Appeals.

          Brittany received her Juris Doctor from the University of California, Hastings College of
  the Law in 2019, graduating cum laude. During law school, Brittany was a member of the
  Constitutional Law Quarterly, for which she was the Executive Notes Editor. Brittany published
  a note in the Constitutional Law Quarterly entitled “Waiving Goodbye to First Amendment
  Protections: First Amendment Waiver by Contract.” Brittany also served as a judicial extern to
  the Honorable Andrew Y.S. Cheng for the San Francisco Superior Court. In 2016, Brittany
  graduated from the University of California Berkeley with a B.A. in Political Science.

                                     Selected Class Settlements:

  Morrissey v. Tula Life, Inc., Case No. 2021L0000646 (Cir. Ct. DuPage Cnty. 2021) – final
  approval granted for $4 million class settlement to resolve claims of cosmetics purchasers for
  alleged false advertising.

  Clarke et al. v. Lemonade Inc., Case No. 2022LA000308 (Cir. Ct. DuPage Cnty. 2022) – final
  approval granted for $4 million class settlement to resolve claims for alleged BIPA violations.

  Whitlock v. Jabil Inc., Case No. 2021CH00626 (Cir. Ct. Cook Cnty. 2022) – final approval
  granted for $995,000 class settlement to resolve claims for alleged BIPA violations.
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                                         MAX S. ROBERTS

          Max Roberts is an Associate in Bursor & Fisher’s New York office. Max focuses his
  practice on class actions concerning data privacy and consumer protection. Max was a Summer
  Associate with Bursor & Fisher prior to joining the firm and is now Co-Chair of the firm’s
  Appellate Practice Group.

         Max received his Juris Doctor from Fordham University School of Law in 2019,
  graduating cum laude. During law school, Max was a member of Fordham’s Moot Court Board,
  the Brennan Moore Trial Advocates, and the Fordham Urban Law Journal, for which he
  published a note entitled Weaning Drug Manufacturers Off Their Painkiller: Creating an
  Exception to the Learned Intermediary Doctrine in Light of the Opioid Crisis. In addition, Max
  served as an intern to the Honorable Vincent L. Briccetti of the Southern District of New York
  and the Fordham Criminal Defense Clinic. Max graduated from Johns Hopkins University in
  2015 with a B.A. in Political Science.

         Outside of the law, Max is an avid triathlete.

                                    Selected Published Decisions:

  Jackson v. Amazon.com, Inc., --- F.4th ---, 2023 WL 2997031 (9th Cir. Apr. 19, 2023), affirming
  district court’s denial of motion to compel arbitration. Max personally argued the appeal before
  the Ninth Circuit, which can be viewed here.

  Javier v. Assurance IQ, LLC, 2022 WL 1744107 (9th Cir. May 31, 2022), reversing district court
  and holding that Section 631 of the California Invasion of Privacy Act requires prior consent to
  wiretapping. Max personally argued the appeal before the Ninth Circuit, which can be viewed
  here.

  Mora v. J&M Plating, Inc., --- N.E.3d ---, 2022 WL 17335861 (Ill. App. Ct. 2d Dist. Nov. 30,
  2022), reversing circuit court and holding that Section 15(a) of Illinois’ Biometric Information
  Privacy Act requires an entity to establish a retention and deletion schedule for biometric data at
  the first moment of possession. Max personally argued the appeal before the Second District,
  which can be listened to here.

  Cristostomo v. New Balance Athletics, Inc., 2022 WL 17904394 (D. Mass. Dec. 23, 2022),
  denying motion to dismiss and motion to strike class allegations in case involving sneakers
  marketed as “Made in the USA.”

  Carroll v. Myriad Genetics, Inc., 2022 WL 16860013 (N.D. Cal. Nov. 9, 2022), denying in part
  motion to dismiss in case involving non-invasive prenatal testing product.

  Louth v. NFL Enterprises LLC, 2022 WL 4130866 (D.R.I. Sept. 12, 2022), denying motion to
  dismiss alleged violations of the Video Privacy Protection Act.
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  Sholopa v. Turk Hava Yollari A.O., Inc. d/b/a Turkish Airlines, 2022 WL 976825 (S.D.N.Y. Mar.
  31, 2022), denying motion to dismiss passenger’s allegations that airline committed a breach of
  contract by failing to refund passengers for cancelled flights during the COVID-19 pandemic.

  Saleh v. Nike, Inc., 562 F. Supp. 3d 503 (C.D. Cal. 2021), denying in part motion to dismiss
  alleged violations of California Invasion of Privacy Act.

  Soo v. Lorex Corp., 2020 WL 5408117 (N.D. Cal. Sept. 9, 2020), denying defendants’ motion to
  compel arbitration and denying in part motion dismiss consumer protection claims in putative
  class action concerning security cameras.

                                     Selected Class Settlements:

  Miranda v. Golden Entertainment (NV), Inc., Case No. 2:20-cv-534-AT (D. Nev. 2021) – final
  approval granted for class settlement valued at over $4.5 million to resolve claims of customers
  and employees of casino company stemming from data breach.

  Malone v. Western Digital Corp., Case No. 5:20-cv-3584-NC (N.D. Cal. 2021) – final approval
  granted for class settlement valued at $5.7 million to resolve claims of hard drive purchasers for
  alleged false advertised.

  Frederick v. ExamSoft Worldwide, Inc., Case No. 2021-L-001116 (18th Judicial Circuit Court
  DuPage County, Illinois 2021) – final approval granted for $2.25 million class settlement to
  resolve claims of Illinois students for alleged violations of the Illinois Biometric Information
  Privacy Act.

                                           Bar Admissions

  •   New York State
  •   Southern District of New York
  •   Eastern District of New York
  •   Northern District of New York
  •   Northern District of Illinois
  •   Central District of Illinois
  •   Eastern District of Michigan
  •   District of Colorado
  •   Ninth Circuit Court of Appeals
  •   Seventh Circuit Court of Appeals

                                   CHRISTOPHER R. REILLY

        Chris Reilly is an Associate with Bursor & Fisher, P.A. Chris focuses his practice on
  consumer class actions and complex business litigation.

         Chris is admitted to the State Bar of Florida and is a member of the bar of the United
  States District Courts for the Southern and Middle Districts of Florida.
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          Chris received his Juris Doctor from Georgetown University Law Center in 2020.
  During law school, Chris clerked for the Senate Judiciary Committee, where he worked on
  antitrust and food and drug law matters under Senator Richard Blumenthal. He has also clerked
  for the Mecklenburg County District Attorney’s Office, the ACLU Prison Project, and the
  Pennsylvania General Counsel’s Office. Chris served as Senior Editor of Georgetown’s Journal
  of Law and Public Policy. In 2017, Chris graduated from the University of Florida with a B.A.
  in Political Science.

                                       JULIA K. VENDITTI

          Julia Venditti is an Associate with Bursor & Fisher, P.A. Julia focuses her practice on
  complex civil litigation and class actions. Julia was a Summer Associate with Bursor & Fisher
  prior to joining the firm.

         Julia is admitted to the State Bar of California and is a member of the bars of the United
  States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

          Julia received her Juris Doctor in 2020 from the University of California, Hastings
  College of the Law, where she graduated cum laude with two CALI Awards for the highest
  grade in her Evidence and California Community Property classes. During law school, Julia was
  a member of the UC Hastings Moot Court team and competed at the Evans Constitutional Law
  Moot Court Competition, where she finished as a national quarterfinalist and received a best
  brief award. Julia was also inducted into the UC Hastings Honors Society and was awarded Best
  Brief and an Honorable Mention for Best Oral Argument in her First-Year Moot Court section.
  In addition, Julia served as a Research Assistant for her Constitutional Law professor, as a
  Teaching Assistant for Legal Writing & Research, and as a Law Clerk at the San Francisco
  Public Defender’s Office. In 2017, Julia graduated magna cum laude from Baruch
  College/CUNY, Weissman School of Arts and Sciences, with a B.A. in Political Science.

                                        JULIAN DIAMOND

          Julian Diamond is an Associate with Bursor & Fisher, P.A. Julian focuses his practice on
  privacy law and class actions. Julian was a Summer Associate with Bursor & Fisher prior to
  joining the firm.

         Julian received his Juris Doctor from Columbia Law School, where he was a Harlan
  Fiske Stone Scholar. During law school, Julian was Articles Editor for the Columbia Journal of
  Environmental Law. Prior to law school, Julian worked in education. Julian graduated from
  California State University, Fullerton with a B.A. in History and a single subject social science
  teaching credential.
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                                      MATTHEW GIRARDI

         Matt Girardi is an Associate with Bursor & Fisher, P.A. Matt focuses his practice on
  complex civil litigation and class actions, and has focused specifically on consumer class actions
  involving product defects, financial misconduct, false advertising, and privacy violations. Matt
  was a Summer Associate with Bursor & Fisher prior to joining the firm.

         Matt is admitted to the State Bar of New York, and is a member of the bars of the United
  States District Courts for the Southern District of New York, the Eastern District of New York,
  and the Eastern District of Michigan

          Matt received his Juris Doctor from Columbia Law School in 2020, where he was a
  Harlan Fiske Stone Scholar. During law school, Matt was the Commentary Editor for the
  Columbia Journal of Tax Law, and represented fledgling businesses for Columbia’s
  Entrepreneurship and Community Development Clinic. In addition, Matt worked as an Honors
  Intern in the Division of Enforcement at the U.S. Securities and Exchange Commission. Prior to
  law school, Matt graduated from Brown University in 2016 with a B.A. in Economics, and
  worked as a Paralegal Specialist at the U.S. Department of Justice in the Antitrust Division.

                                       JENNA GAVENMAN

          Jenna Gavenman is an Associate with Bursor & Fisher, P.A. Jenna focuses her practice
  on complex civil litigation and consumer class actions. Jenna was a Summer Associate and a
  part-time intern with Bursor & Fisher prior to joining the firm as a full-time Associate in
  September 2022.

         Jenna is admitted to the State Bar of California and is a member of the bars of the United
  States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

          Jenna received her Juris Doctor in 2022 from the University of California, Hastings
  College of the Law (now named UC Law SF). During law school, she was awarded an
  Honorable Mention for Best Oral Argument in her First-Year Moot Court section. Jenna also
  participated in both the Medical Legal Partnership for Seniors (MLPS) and the Lawyering for
  Children Practicum at Legal Services for Children—two of UC Hastings’s nationally renowned
  clinical programs. Jenna was awarded the Clinic Award for Outstanding Performance in MLPS
  for her contributions to the clinic. In addition, Jenna volunteered with her law school’s Legal
  Advice and Referral Clinic and as a LevelBar Mentor.

         In 2018, Jenna graduated cum laude from Villanova University with a B.A. in Sociology
  and Spanish (double major). Jenna was a Division I athlete, competing on the Villanova
  Women’s Water Polo varsity team for four consecutive years.
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                                          EMILY HORNE

         Emily Horne is an Associate with Bursor & Fisher, P.A. Emily focuses her practice on
  complex civil litigation and consumer class actions. Emily was a Summer Associate with Bursor
  & Fisher prior to joining the firm.

         Emily is admitted to the State Bar of California.

         Emily received her Juris Doctor from the University of California, Hastings College of
  the Law in 2022 (now UC, Law SF). During law school, Emily served as Editor-in-Chief for the
  UC Hastings Communications and Entertainment Law Journal, and she competed on the Moot
  Court team. Emily also served as a judicial extern in the Northern District of California and as a
  Teaching Assistant for Legal Writing & Research. In 2015, Emily graduated from Scripps
  College with a B.A. in Sociology.

                                        IRA ROSENBERG

        Ira Rosenberg is an Associate with Bursor & Fisher, P.A. Ira focuses his practice on
  complex civil litigation and class actions.

          Ira received his Juris Doctor in 2022 from Columbia Law School. During law school, Ira
  served as a Student Honors Legal Intern with Division of Enforcement at the U.S. Securities and
  Exchange Commission. Ira also interned during law school in the Criminal Division at the
  United States Attorney’s Office for the Southern District of New York and with the Investor
  Protection Bureau at the Office of the New York State Attorney General. Ira graduated in 2018
  from Beth Medrash Govoha with a B.A. in Talmudic Studies.

                                    LUKE SIRONSKI-WHITE

           Luke Sironski-White is an Associate with Bursor & Fisher, P.A., focusing on complex
  civil litigation and consumer class actions. Luke joined the firm as a full-time Associate in
  August 2022.

         Luke is admitted to the State Bar of California.

          Luke received his Juris Doctor in 2022 from the University of California, Berkeley
  School of Law. During law school, Luke was on the board of the Consumer Advocacy and
  Protection Society (CAPS), edited for the Berkeley Journal of Employment and Labor Law, and
  volunteered with the Prisoner Advocacy Network.

         In 2017, Luke graduated from the University of Chicago with a B.A. in Anthropology.
  Before entering the field of law Luke was a professional photographer and filmmaker.
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                                   JONATHAN L. WOLLOCH

          Jonathan L. Wolloch is an Associate with Bursor & Fisher, P.A. Jonathan focuses his
  practice on complex civil litigation and class actions. Jonathan was a Summer Associate with
  Bursor & Fisher prior to joining the firm.

         Jonathan is admitted to the State Bar of Florida and the bars of the United States District
  Courts for the Southern and Middle Districts of Florida.

         Jonathan received his Juris Doctor from the University of Miami School of Law in 2022,
  graduating magna cum laude. During law school, Jonathan served as a judicial intern to the
  Honorable Beth Bloom for the Southern District of Florida. He received two CALI Awards for
  earning the highest grade in his Trusts & Estates and Substantive Criminal Law courses, and he
  was elected to the Order of the Coif. Jonathan was also selected for participation in a semester
  long externship at the Florida Supreme Court, where he served as a judicial extern to the
  Honorable John D. Couriel. In 2018, Jonathan graduated from the University of Michigan with a
  B.A. in Political Science.
